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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND                NOV 222016
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UNITED STATES OF AMERICA,                      )                            ()l9'll11C't OF MARl1.AII'D
STATE OF MARYLAND,                             )                   Wi                                     ~
DISTRICT OF COLUMBIA, ex rei.,                 )
                                               )
STEVEN PRINGLE                                 )   CIVIL ACTION NO:                  _
480 Wcb Foot Lanc                              )
Stcvcnsvillc, MD 21666                         )
                                               )   COMI'LAINT         GJH 16 CV3179
      Plain tiff-Rcla tors,                    )
                                               )
BRINGING TI-IIS ACTION ON BEHALF               )   FILED UNDER SEAL PURSUANT TO
OF THEMSELVES AND THE UNITED                   )   THE FALSE CLAIMS ACT, 31 U.S.c. ~
STATES OF AMERICA, THE STATE OF                )   3730(b)(2)
MARYLAND, AND THE DISTRICT OF                  )
COLUMBIA,                                      )
                                               )   JURY TRIAL DEMANDED
c/o                             )
ATTORNEY GENERAL OF THE UNITED)
STATES                          )
U.S. Dcpartmcnt of J lIsticc    )
950 Pcnnsylvania Avc, N.W.      )
Washington, DC 20530            )
                                               )
ATTORNEY GENERAL              FOR THE STATE)
OF MARYLAND                                    )
200 St. Paul Placc                             )
Baltimorc, MD 21022                            )
                                               )
ATTORNEY GENERAL FOR THE                       )
DISTRICT OF COLUMBIA                           )
441 4th Strcct NW, Suitc 1060 N                )
Washington, DC 20001                           )
                                               )
       Plaintiffs,                             )
                                               )
v.                                             )
                                               )
DR. MUBASHAR CHOUDRY                           )
7610 Carroll Avc, Suitc 100,                   )
Takoma Park, MD 20912                          )
                                               )
                                               )
                                               )
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JA VED CHOUDRY                        )
7610 Carroll Ave, Suite 100,          )
Takoma Park, MD 20912                 )
                                      )
DR. MOHSIN IJAZ                       )
7610 Carroll Ave, Suite 100,          )
Takoma Park, MD 20912                 )
                                      )
WASHINGTON CARDIOVASCULAR             )
INSTITUTE                             )
7610 Carroll Ave, Suite 100,          )
Takoma Park, MD 20912                 )
                                      )
WASHINGTON VASCULAR INSTITUTE         )
7610 Carroll Ave, Suite 100,          )
Takoma Park, MD 20912                 )
                                      )
ADV AJ"ICED CARDIOLOGY         CARE   )
7610 Carroll Ave, Suite 102,          )
Takoma Park, MD 20912                 )
                                      )
ADVANCED VASCULAR RESOURCES           )
7610 Carroll Ave, Suite 100,          )
Takoma Park, MD 20912,                )
                                      )
       Defendants.                    )
                                      )
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PLAINTIFF-RELATOR            STEVEN      PRINGLE         ("Relator")     hereby    voluntarily      discloses

substantially all inforn1ation known to him regarding the knowing violation of the federal False

Claims Act and similar state laws by DR. MUBASHAR CHOUDRY, in his personal capacity.

JAVED CHOUDRY, in his personal capacity, DR. MOHSIN IJAZ. in his personal capacity, and

ADVANCED VASCULAR RESOURCES, and its subsidiaries and precursors, including but not

limited   to   the   WASHINGTON         CARDIOVASCULAR                 INSTITUTE     and    ADVANCED

CARDIOLOGY           CARE (hereinafter collectively referred to as "Defendants").                Defendants'

ongoing illegal actions have defrauded the federal and state governments of tens of millions of

dollars and present a serious danger to public health.


                                         INTRODUCTION

I.   Relator brings this action under the federal False Claims Act, 31 U.S.c. SS 3729 el seq., and

     related laws in Maryland. Md. Code Ann. Health-Gen.SS 2-601 el seq., and the District of

     Columbia, D.C. Code SS2-381.01 el seq .. as amended (collectively the "FCA"), alleging that

     Defendants knowingly presented false claims, caused others to present false claims, made

     false statements material to false claims, and/or violated the Stark Law and Anti-Kickback

     Statute, by fraudulently     billing Medicare,      state Medicaid,     and TRICARE           programs

     (collectively the "Government")     for excessive, medically unnecessary, and/or inadequately

     documented cardiovascular procedures.

2.   For at least six years before the filing of this Complaint (the "relevant period"), Defendants

     engaged in a pattern and practice of performing and billing the Government for an excessive

     number of invasive procedures to treat peripheral artery disease, including angiographs,

     angioplasties, atherectomies, and stent implantations.        Defendants failed to exhaust non-

     invasive alternative therapies before performing these expensive and higher-risk procedures,
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     subjecting patients to peripheral artery interventions that were not medically necessary and/or

     that lacked proper evaluation and documentation of medical necessity.

3.   Most of Defendants'        patients are elderly and in poor health.     The unnecessary surgical

     procedures that Defendants perfonn constitute a serious danger to public health that subjects

     this particularly vulnerable population to a variety of dangerous complications, ranging from

     allergic reactions to the contrast injected into their bloodstreams during the procedures. to

     potentially fatal embolisms, heart attacks, and strokes due to dislodged plaques moving

     through the bloodstream.

4.   Defendants knew, deliberately ignored, or recklessly disregarded Medicare and Medicaid

     payment rules by presenting claims to the Government for procedures that were not indicated

     by patients' symptoms or medical histories. Defendants knowingly and falsely certified that

     each such procedure was medically necessary, thereby defrauding the Government.

5.   To facilitate this fraudulent pattern and practice, and in violation of the Anti-Kickback

     Statute, 42 U,S.c.    S   1320a-7b(b), Defendants routinely and indiscriminately waived the 20

     percent Medicare beneficiary copayment for cardiovascular procedures, or limited collection

     to whatever the beneficiary's co-insurance would pay, but billed Medicare for 100 percent of

     the procedures'      cost-knowingly     and willfully misrepresenting     the actual cost of the

     procedures and providing financial kickbacks to induce beneficiaries to continue undergoing

     excessive testing and treatment without questioning the medical necessity of the procedures.

     Defendants further violated the Anti-Kickback Statute by providing free transportation to and

     from their facility to patients receiving procedures, ensuring that there is no disincentive to

     receiving the unnecessary treatments.




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6.   Defendants also violated the Stark Law, providing free "ankle-brachial        index" tests to the

     patients of other physicians and allowing those physicians to bill for these procedures.

     thereby providing remuneration in exchange for referrals. Defendants' ankle-brachial index

     business also violates the Stark Law as an impermissible self-referral.

7.   By presenting false claims to the Government for excessive. medically unnecessary. and/or

     inadequately documented cardiovascular procedures-and         by routinely and indiscriminately

     waiving Medicare copayments-Defendants           obtained tens of millions of dollars to which

     they were not entitled. Accordingly, Defendants are liable to the Government under the FCA.


                                 JURISDICTION AND VENUE

8.   This action arises under the federal false claims act, 31 U.S.c. 9 3729, et seq. This action also

     arises under D.C. Code 992-381.01 el seq. and Md. Code Ann. Health-Gen.9s2-601            el seq.

     Except where noted otherwise, these laws are hereinafter collectively referred to as the "False

     Claims Act. ..

9.   Subject matter jurisdiction over all federal causes of action is conferred upon this Court by 28

     U.S.c. 9 1331, in that this action arises under the laws of the United States. by and 31 U.S.c.

     9 3732, which specifically confers jurisdiction on this Court for actions brought pursuant to

     31 U.S.c. 993729 and 3730.

10. Pendant and supplemental jurisdiction over the claims made under various state laws are

     conferred by 28 U.S.c. 9 1367 and 31 U.S.c. 9 3732(b), as these state law claims arose out of

     the same nucleus of operative facts as, and are related to, Relator's federal claims.

11. Venue is proper in this Court pursuant to 28 U.S.C 9 1391(c) and 31 U.S.c. 9 3732(a) as the

     Court has personal jurisdiction over at least one defendant who can be found in, resides,




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     transacts business, or has perforn1ed acts proscribed by 31 U.S.c.        S 3729   in this district. At

     least one defendant also caused false claims to be made or certified in this jurisdiction.

12. There has been no public disclosure of the allegations contained herein. In the event that any

     unknown disclosure has occurred, Relator is an original source within the meaning of 31

     U.S.c.   S 3730(e)(4).
13. Relator has independent knowledge of all the information contained herein, and voluntarily

     provided a confidential written disclosure of such information to the United States and the

     above-listed state governments prior to filing this Complaint.

14. Relator has complied with all conditions precedent to bringing this action.


                                              PARTIES

15. Relator Steven Pringle has been a nurse since 1997, when he immediately began working in

     critical care. In 1998, Relator moved to the "cath lab" and began assisting exclusively on

     interventional cardiovascular procedures, where he became very familiar with the treatment

     of peripheral artery disease and the surgical techniques described in this Complaint.            From

     2001-2012, Relator worked as a clinical sales rep promoting different products and consulting

     in the treatment of peripheral artery disease. Relator began working for Defendants in 2013

     as their Vice President of Operations.    In this capacity, Relator was able to observe almost

     every aspect of Defendants' business, though he was not himself involved in the creation or

     presentation of any of the false claims described herein. Relator was also frequently called

     upon to oversee or assist in many of the surgical procedures described herein, allowing him to

     observe Defendants perform unnecessary            procedures firsthand.     Relator terminated his

     employment with Defendants in August 20 I6.




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16. Defendant Dr. Mubashar Chaudry is the principal and co-owner of Defendants Advanced

    Vascular Resources, Washington Cardiovascular Institute, Washington Vascular Institute.

    and Advanced Cardiology Care.       Dr. Chaudry personally perfonned the majority of the

    unnecessary procedures described herein. personally approved each of the false claims

    presented to the Government,      and is the driving force behind Defendants'         fraudulent

    practices.

17. Defendant Javed Chaudry is Dr. Chaudry's brother and Chief Financial Officer of Advanced

    Vascular Resources.    Mr. Choudry manages the finances of Defendants Advanced Vascular

    Resources,    Washington   Cardiovascular     Institute,   Washinh>ton Vascular   Institute.   and

    Advanced Cardiology Care, and is personally responsible for preparing many of the false

    claims described herein. Mr. Choudry is therefore personally liable as a co-conspirator.

18. Defendant Dr. Mohsin Ijaz is a principal and co-owner of Defendant Advanced Cardiology

    Care.    Dr. Ijaz is fully aware of Dr. Chaudry's practices and has done nothing to stop it,

    making him personally liable as a co-conspirator. Dr. Ijaz personally engaged in fraud and

    furthered the conspiracy by billing Medicare and Medicaid for procedures actually perfonned

    by Dr. Chaudry.

19. Defendant Washington Cardiovascular         Institute, located at 7610 Carroll Ave, Suite 100,

    Takoma Park, MD 20912, is the primary corporate entity through which Defendants do

    business.    Washington Cardiovascular      Institute appears on the letterhead of most patient

    charts and is the entity that presented most of the false claims described herein to the

    Government. All of the unnecessary surgical procedures described herein were perfonned on

    the premises of Washington Cardiovascular Institute.




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20.   Defendant Washington Vascular Institute is a group practice formed by Dr. Choudry with

      offices in Hagerstown,       MD and Atlanta, GA.             Interventional     procedures      attributed to

      Washington     Vascular      Institute    were   performed      on   the      premises     of   Washinl,'1on

      Cardiovascular Institute.

21.   Defendant Advanced Cardiology Care is a private practice owned and operated by Dr.

      Choudry and Dr. Mohsin Ijaz, with offices at I 1I 10 Medical Campus Rd Suite 101

      Hagerstovm, MD, 111 19 Rockville Pike, Suite 100, Rockville, MD 20852, 75 Thomas

      Johnson Dr, Suite I, Frederick, MD 21702, and 7610 Carroll Ave, Suite 102, Takoma Park,

      MD 20912.      Dr. Choudry performs ultrasounds and office visits with patients through this

      entity, but refers patients       to Washinl,'1on Cardiovascular           Institute     for interventional

      procedures.

22.   Defendant     Advanced      Vascular     Resources   is the parent company             of the Washington

      Cardiovascular Institute, Washington Vascular Institute, and Advanced Cardiology Care, with

      offices at 7610 Carroll Ave, Suite 100, Takoma Park, MD 20912.                    Defendants see at least

      some patients through this entity, and use its letterhead in many forms of correspondence

      with patient and referring physicians.           While most of the business done by Advanced

      Vascular Resources occurs in Maryland, it has other offices in Atlanta, GA, Johnstown, PA,

      and several other locations throughout the United States.


                           RELEVANT LAWS AND REGULA nONS

I.      The False Claims Act

23.   The federal False Claims Act and the related laws of Maryland and the District of Columbia

      provide that any person or entiry that knowingly presents, or causes to be presented, a false

      claim for payment or approval, a false statement that is material to a claim for payment or


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      approval, or conspiracy to commit any of these acts. is liable to the United States for damages

      and penalties. See 31 U.S.c. ~ 3729(a)(l); DC Code ~ 2-381.02; Md. General Provisions

      Code ~ 8-102; Md. Health General Code ~ 2-602.

24.   "Knowingly" means that the person or entity: (l) had actual knowledge of the information;

      (2) acted in deliberate ignorance of the truth or falsity of the information; or (3) acted in

      reckless disregard of the truth or falsity of the information. 31 U.S.C. ~ 3729(b)(I); DC Code

      ~ 2-381.0 I; Md. General Provisions Code ~ 8-101. The person or entity need not have acted

      \vith the specific intent to defraud the Government to be liable under the FCA. Jd.


II.        GOVERNMENT       HEALTH CARE PROGRAMS

25.   The FCA imposes liability for knowingly false claims presented to state and federal

      healthcare programs, such as Medicare, Medicaid, and TRlCARE.


      A.        The Medicare Program

26.   The Health Insurance for the Aged and Disabled Program. commonly referred to as

      Medicare, is a public health insurance program established by Title XVlll of the Social

      Security Act, 42 U.S.C. ~~ 1395-1395kkk-1.          Entitlement to Medicare is based on age.

      disability, or affliction with end-stage renal disease. See 42 U.S.C. ~~ 1395 el seq.

27.   Medicare is comprised of Parts A, B, C, and D. Part B authorizes payment of federal funds

      for health services, including physician, laboratory, outpatient, diagnostic, and radiology

      services. See 42 U.S.c. ~ 1395k; 42 C.F.R. ~ 410.10.        Part B primarily covers outpatient

      medical procedures and related services performed by physicians, i.e. physician visits and

      surgical procedures that generally do not require a patient to stay more than 24 hours in a

      hospital, or that take place at non. hospital facilities such as ambulatory surgical centers.



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      Medicare Part B also covers prescription drugs and medical devices that are provided/used in

      connection with covered services.

28.   A Medicare beneficiary who receives a covered medical service can either pay for the

      medical service and request reimbursement of 80% of the reasonable charge or, much more

      commonly, assign the right to reimbursement to the physician providing the service, who then

      collects payment as an assignee of the individual under 42 U.S.c.         S   13951(a)(I).

29.   The Secretary of HHS has overall responsibility for the administration of Medicare. Within

      HHS, the responsibility for the administration of Medicare has been delegated to the Centers

      for Medicare and Medicaid Services ('"CMS").

30.   To assist in the administration of Medicare Part B, CMS initially contracted y.,~th"carriers" or

      "fiscal intermediaries."    Carriers,   typically   private   insurance   companies,         were largely

      responsible for processing and paying Part B claims. 42 C.F.R.        SS 421.1-421.3.
31.   Beginning     in November     2006~ Medicare Administrative          Contractors      ("MACs")      began

      replacing carriers and fiscal intermediaries. See 42 U.S.c.     S   1395kk-1; 42 C.F.R.       S 421.400   el

      seq.; 71 F.R. 68181 (Nov. 24, 2006). MACs generally act on behalf of CMS to process and

      pay Part A and Part B claims and perform administrative functions on a regional level.

      MACs also have authority to issue Local Coverage Determinations ("LCDs"), which define

      the circumstances under which the MAC will approve a claim for a particular item or service,

      i.e. the circumstances under which the particular claim is "reasonable and necessary."                    42

      U.S.c.   SS   1395ff(f)(2)(B), 1395y(a)(1 )(A).     Compliance with the provisions of a LCD is

      required for payment.

32.   During the relevant period, the MAC for Maryland and the District of Columbia has been

      Novitas Solutions, Inc., formerly known as Highmark Medicare Services. [nco('"Novitas").



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33.   Medicare does not pay for every medical service. The only services that Medicare covers are

      those that are "reasonable and necessary for the diagnosis or treatment of illness or injury or

      to improve the functioning ofa malformed body member."' 42 V.S.c.       S   1395y(a)(l)(A).    For

      this reason, as a precondition of payment, Medicare providers must certify that their services

      are rendered "economically and only when, and to the extent, medically necessary" and "of a

      quality which meets professionally recognized standards of health care."' 42   SS   1320c-5(a)(l),

      (2).

34.   Part B providers make various certifications when they enroll in Medicare and sign CMS

      Form 855b (Medicare Enrollment Application for clinics/group practices and certain other

      suppliers) and/or CMS Form 855i (Medicare Enrollment Application for physicians and

      certain non-physician practitioners), including:

        I agree to abide by the Medicare laws. regulations and program instructions .... 1
        understand that payment of a claim by Medicare is conditioned upon the claim and
        the underlying transaction complying with such laws, regulations. and program
        instructions (including, but not limited to, the Federal anti-kickback statute and the
        Stark law), and on the supplier's compliance with all applicable conditions of
        participation in Medicare.
        ***
        [ will not knowingly present or cause to be presented a false or fraudulent claim for
        payment by Medicare, and [ will not submit claims with deliberate ignorance or
        reckless disregard of their truth or falsity.

35.   CMS relies on the veracity of these certifications and, based on that reliance, makes Medicare

      payments retrospectively (i.e., after the services are rendered) to Part B providers. For this

      reason. Medicare payments are often referred to as reimbursements.

36.   During the entire relevant period, Dr. Choudry has been registered as a Medicare provider in

      Maryland and/or the District of Columbia. and has executed at least one provider enrollment

      agreement.




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37.    Defendants and their predecessor organizations have been registered as a Medicare group

       practice in Maryland for the entire relevant period.


         B.       Medicaid

38.    Medicaid is a public health insurance program operated and administered by the various

       States and overseen by CMS as set forth in Title XIX of the Social Security Act, 42 U.S.C.   SS
       1396-1396v. Medicaid is funded by State and Federal taxpayer funds. At all times relevant

       to this Complaint, the Federal government has provided at least 50% of the funding for the

       Medicaid and District of Columbia Medicare programs.

39.    Medicaid was designed to assist participating states in providing medical services, durable

       medical equipment and prescription drugs to financially needy.       State government entities

       contract with private companies to offer and administer Medicaid and related plans to

       beneficiaries pursuant to contracts and applicable laws and regulations.

40.    CMS requires each participating state to implement a plan for the enrolling of beneficiaries

       and minimum criteria for coverage of services and payment of claims. 42 U.S.c.       SS   1396,

       1396(a)(l3), 1396a(a)(30)(A).

4 I.   By becoming a participating provider in the Medicaid programs of the vanous States,

       Defendants agreed to abide by all laws, regulations. and procedures applicable to those

       programs. including those governing payment and reimbursement for claims.

42.    Participation in Medicaid requires meeting all requirements for participation in Medicare. 42

       C.F.R.   S 482. I(a)(5).




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        C.       TRICARE

43.   In 1967, the Department of Defense created the Civilian Health and Medical Program of the

      Uniformed Services ("CHAMPUS"), which is a federally funded medical program created by

      Congress. 10 U.S.c.     S   1071. CHAMPUS beneficiaries include active military personnel.

      retired personnel, and dependents of both active and retired persOlmel. Jd.

44.   In 1995, the Department of Defense established TRICARE, a managed healthcare program,

      which operates as a supplement to CHAMPUS. See 32 C.F.R.           SS   199.4, 199.17(a). Since the

      establishment of TRICARE in 1995, both programs are frequently referred to collectively as

      TRICARE/CHAMPUS,            or just "TRICARE." The purpose of the TRICARE program is to

      improve healthcare services to beneficiaries by creating "managed care support contracts that

      include special arrangements        with civilian sector health care providers."       32 C.F.R.    S
      199. I 7(a)( I). The TRICARE Management Activity ("TMA") oversees this program.

45.   Just as ",ith Medicare and Medicaid, TRICARE providers have an obligation to provide

      services and supplies at only the appropriate level and "only when and to the extent medically

      necessary." 32 C.F.R.   S   199.6(a)(5).

46.   TRICARE's governing regulations, like those of Medicare and Medicaid, are also based upon

      "medical necessity,"        TRICARE        requires that services provided be "furnished      at the

      appropriate level and only when and to the extent medically necessary." and such care must

      "meet[] professionally recognized standards of health care [and be] supported by adequate

      medical documentation        . . . to evidence the medical necessity and quality of services

      furnished, as well as the appropriateness of the level of care," 32 C.F.R.      S   199.6(a)(5).   As

      such, like Medicare and Medicaid, TRICARE does not cover services that exceed medical




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       necessity. Id. Claims for payment for such services constitute fraud under the False Claims

       Act.


III.     MEDICARE CLAIM SUBMISSION AND PAYMENT PROCESS

47.    As Medicare providers, Defendants were obligated to understand and certify their compliance

       with all applicable Medicare laws. regulations, and program instructions as a condition of

       participation in Part B and as a condition of payment of Medicare reimbursements.

48.    In order to receive payment for covered medical services, Medicare providers must submit a

       paper or electronic copy of CMS Form 1500 Health Insurance Claim Form. Providers also

       use CMS Form 1500 to present claims to Medicaid. TRlCARE, and other govemment-

       sponsored health insurance programs.

49.    When submitting claims to Medicare or the local MAC on CMS Form 1500. providers make

       several express certifications,   including that: (a) the services rendered are "medically

       indicated and necessary for the health of the patient;" (b) the information on the claim form is

       "true. accurate and complete;" (c) the provider has "provided or will provide additional

       information required to allow the government to make an informed eligibility and payment

       decision;" and (d) the provider understands that "payment and satisfaction of this claim will

       be from Federal and State funds, and that any false claims, statements, or documents, or

       concealment of a material fact, may be prosecuted under applicable Federal and State laws."

       After a February 2012 revision to CMS Form 1500, providers further expressly certify that

       their claims comply "with all applicable Medicare ...         laws, regulations, and program

       instructions for payment including but not limited to the Federal anti-kickback statute and

       Physician Self-Referral law (commonly known as Stark law)."




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50.   By signing CMS Fonn 1500. providers expressly acknowledge their understanding that:

      "Any person who knO\vingly files a statement of claim containing any misrepresentation or

      any false, incomplete or misleading infonnation may be guilty of a criminal act punishable

      under law and may be subject to civil penalties:'

51.   Because it is not feasible for Medicare personnel to review every patient's medical records

      for the millions of claims for payments they receive from providers, the program relies on

      providers to comply with Medicare requirements and trusts providers to submit truthful and

      accurate certifications and claims.

52.   Generally. once a provider submits CMS Fonn 1500 to the Medicare, the claim is paid

      directly to the provider without any review of supporting documentation, including medical

      records.

53.   Exceptions to this general procedure include pre-payment and post-payment reviews, which

      can be initiated by MACs and other intennediary organizations to address suspect billing

      practices. In pre-payment review, some or all of a provider's claims undergo medical review

      before payment is authorized. Medical review involves the collection and evaluation by a

      medical professional of the medical records associated with each claim. In post-payment

      review, a sample of paid claims is subjected to medical review to establish whether an

      underpayment or overpayment occurred in the universe of claims.


IV.     THE MEDICARE COPA YMENT

54.   Under Part B, Medicare generally pays 80 percent of the reasonable charges (as established

      by the Medicare Physician Fee Schedule) for medically necessary services provided to

      beneficiaries. See 42 U.S.c.    SS    13951(a)(I), I395y(a)(l)(A).   Medicare beneficiaries are




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       generally expected to pay the remaining 20 percent in the form of a copayment, also called a

       "copay" or "coinsurance" payment.

55.    The copayment is intended to minimize costs to federal healthcare programs and beneficiaries

       by incentivizing beneficiaries to be better health care consumers-selecting          services because

       they are medically needed. rather than simply because they are free. See HHS Office of

       Inspector General Special Fraud Alert, 59 Fed. Reg. 65372-01, at 65375 (Dec. 19, 1994).

       Consequently.    except   in narrow circumstances.        federal law prohibits       the waiver of

       copayments.     Id. (citing 18 U.S.c.    SS   287, 100L 31 U.S.c.   S 3729;   42 C.F.R.   SS   1320a-7,

       1320a-7a. 1320a- 7b).

56.    The routine waiver of copayments is prohibited because "[ a] provider, practitioner or supplier

       who routinely waives Medicare co payments ... is misstating its actual charge." For example:

            if a supplier claims that its charge for a piece of equipment is $100, but routinely
            waives the copayment, the actual charge is $80. Medicare should be paying 80
            percent of $80 (or $64), rather than 80 percent of $100 (or $80). As a result of
            the supplier's misrepresentation, the Medicare program is paying $16 more than
            it should for this item.

      Special Fraud Alert. 59 Fed. Reg. 65372-01.              at 65374-75.      As the Medicare       Claims

      Processing Manual (Ch. 23     S 80.8.1)   explains:

            Deductible and coinsurance amounts are taken into account (included) in
            determining the reasonable charge for a service or item. In this regard, a billed
            amount that is not reasonably related to an expectation of payment is not
            considered the "actual" charge for the purpose of processing a claim or for the
            purpose of determining customary charges.

57.    The routine waiver of copayments may also constitute impermissible remuneration under

       provisions of the Social Security Act, including the Anti.Kickback              Statute, 42 U.S.C.    S
       1320a.7b(b), and the Civil Monetary Penalties Law, 42 U.S.c.         S   1320a-7a.

58.    As the HHS Office of Inspector General explained:



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            In certain cases, a provider. practItIoner or supplier who routinely waives
            Medicare co payments . . . could be held liable under the Medicare and
            Medicaid anti-kickback statute. 42 U.S.c. 1320a-7b(b). The statute makes it
            illegal to offer. pay, solicit or receive anything of value as an inducement to
            generate business payable by Medicare or Medicaid. When providers,
            practitioners or suppliers forgive financial obligations for reasons other than
            genuine financial hardship of the particular patient, they may be unlawfully
            inducing that patient to purchase items or services from them.

      Special Fraud Alert. 59 Fed. Reg. 65372-01, at 65375: see also Medicare Progranl Integrity

      ManuaL Ch. 4       S   4.22.1.1 ("Routine waivers of coinsurance     or deductibles are unlawful

      because they could result in ... violation of the anti-kickback statute.").

59.    Similarly,   S   I I28A(a)(5) of the Social Security Act prohibits the offer or transfer of

       "remuneration" to a Medicare beneficiary that the offeror or transferor knows or should know

       is likely to influence the beneficiary's healthcare decisions. 42 U.S.C.     S   I320a-7a(a)(5); see

       also OIG Special Advisory Bulletin, Offering Gifts and Olher Inducemenls 10 Beneficiaries

       (Aug. 30, 2002). Prohibited "remuneration"         includes "the waiver of coinsurance             and

       deductible amounts (or any part thereof):' 42 U.S.c.   S   1320a-7a(i)(6).

60.    Even if non-routine, the waiver of a copayment is permissible only in narrow circumstances.

       The waiver must be (I) unadvertised, and must either (2) "address the special financial needs

       of a particular patient" or (3) occur after "a good faith effort to collect" has been exhausted.

       Special Fraud Alert, 59 Fed. Reg. 65372-01, at 65375; see also 42 U.S.c.           S   1320a-7a(i)(6)

       (prohibited remuneration does not include "the waiver of coinsurance" if (i) "the waiver is not

       offered as part of any advertisement or solicitation;" (ii) "the person does not routinely waive

       coinsurance;" and (iii) the person determined "in good faith that the individual is in financial

       need" or failed to collect "after making reasonable collection efforts"); 42 C.F.R.       S   1003.101

       (same).




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61.   Copayment waivers are not permissible if they are advertised. Special Fraud Alert, 59 Fed.

      Reg. 65372-01. at 65375; 42 U.S.c. ~ 1320a-7a(i)(6); 42 C.F.R. ~ 1003.101. Advertising

      includes indirect marketing or promotional efforts, or informal channels of information

      dissemination, such as "word of mouth" promotion by practitioners or patient support groups.

      OIG Special Advisory Bulletin, Offering Gijis and Other Inducements to Beneficiaries (Aug.

      30,2002).

62.   A copayment waiver based on financial hardship is prohibited if it is not supported by a

      "good faith" assessment of the individual beneficiary's       financial need, which must be

      expressly documented in the beneficiary's records. Special Fraud Alert, 59 Fed. Reg. 65372-

      01, at 65375; 42 V.S.c.    ~ I320a-7a(i)(6); 42 C.F.R. ~ 1003.101. The "(r]outine use of

      'Financial hardship' forms which state that the beneficiary is unable to pay the coinsurance"

      is insufficient. Special Fraud Alert, 59 Fed. Reg. 65372-01, at 65375.

63.   A copayment waiver based on a failure to collect is prohibited if it is not preceded by a "good

      faith" collection effort. Special Fraud Alert, 59 Fed. Reg. 65372-01, at 65375; 42 U.S.c. ~

      I320a-7a(i)(6); 42 C.F.R. ~ 1003.101. The collection effort must be more than "token" and

      must be similar to efforts made to collect comparable amounts from non-Medicare patients.

      Medicare Claims Processing Manual, Ch. 23, ~ 80.8.1.


V,      THE ANTI-KICKBACK            STATUTE AND STARK LAW

64.   The Anti-Kickback    Statute ("AKS"), 42 U.S.c.      ~ I320a-7b(b), arose out of Congress'

      concern that payments to those who influence healthcare decisions would result in goods and

      services that are medically unnecessary, of poor quality, or even harmful to a vulnerable

      patient population. To protect Medicare and Medicaid from these harms, Congress enacted a

      prohibition against payment of kickbacks in any form. See Social Security Amendments of


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      1972, Pub. L. No. 92-603,     99   242(b) and (c); 42 U.S.C.         9    1320a-7b, Medicare-Medicaid

      Antifraud and Abuse Amendments, Pub. L. No. 95-142; Medicare and Medicaid Patient and

      Program Protection Act of 1987, Pub. L. NO.1 00-93.

65.   The AKS prohibits any person or entity from knowingly and willfully soliciting or receiving

      remuneration to induce or reward any person for referring, recommending, or arranging for

      federally-funded medical services, including services provided under the Medicare and/or

      Medicaid programs. See 42 U.S.c.     9   1320a-7b(b ).

66.   In 2010, Congress amended the AKS to clarify that "a claim that includes items or services

      resulting from a violation of this section constitutes a false or fraudulent claim for purposes of

      [the FCA]." Patient Protection and Affordable Care Act of 2010, Pub. L. No. 111-148                     9
      6402(1),124 Stat. 119,759, codified at 42 U.S.c.         9   1320a-7b(g).

67.   Any person that commits an act described in 42 U.S.c. 8 1320a-7b(b) is also liable for

      damages of not more than three times the total anlount of remuneration offered, paid,

      solicited, or received, without regard to whether a portion of such remuneration was ofTered,

      paid, solicited, or received for a lawful purpose. 42 U.S.c. 8 1320a-7a(a)(7).

68.   The Stark Law prohibits a physician from making a referral to an entity for the furnishing of

      health services if the physician has a "financial relationship" with that entity. 42 U.S.c. 8

      1395nn(a)(l).    Moreover, "[n]o payment may be made under [Medicare] for a designated

      health service which is provided in violation of subsection (a)(l) of this section." 42 U.S.c.          9
      1395nn(g)(l ).

69.   The Stark Law defines "financial relationship" to include any arrangement involving any

      remuneration between the entity and physician. 42U.S.C.                  88 1395nn(a)(2)(B) and (h)(l).

      Likewise, a "referral" includes "the request or establishment of a plan of care by a physician



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      which   includes    the provIsion    of the designated      health   servIce     .• 42 U.S.c.     S
      1395nn(h)(5)(B).

70.   Compliance      with the Anti-Kickback     Statute and the Stark Law is a precondition to

      participation as a health care provider under Federal health care programs. Failure to comply

      with the AKS or Stark Law is a per se violation of the FCA.


VI.     PERIPHERAL ARTERY DISEASE

71.   The false claims discussed in this Complaint involve medical services related to the diagnosis

      and treatment of Peripheral Artery Disease ("PAD"'), which is a narrowing or blockage of the

      major arteries to the limbs (i.e. the peripheral arteries) that results in a reduction of blood flow

      to those limbs.

72.   PAD is usually caused by atherosclerosis-the       buildup of cholesterol and fatty deposits called

      "plaques" on the inner walls of the arteries. Plaques restrict blood flow to the limbs and other

      parts of the body by clogging arteries or causing abnormal artery function.         Cardiovascular

      specialists and other medical professionals refer to this narrowing or blockage as a "Iesion"' or

      "stenosis. "

73.   PAD includes a spectrum of syndromes ranging from intermittent "claudication"' to "critical

      limb ischemia."' Claudication is exertional leg pain caused by obstructed arteries. "Critical

      limb ischemia"' usually involves non-exertional or resting leg pain, non-healing wounds,

      ulcers, or gangrene.   Most patients with PAD have only intermittent claudication. which is

      typically unlikely to progress to critical limb ischemia, and does not require an invasive

      intervention.

74.   PAD that is significant enough to warrant treatment, especially invasive treatment. must be

      specifically and appropriately evaluated, diagnosed. and managed. Peripheral arteries may be


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      significantly or completely blocked yet not require intervention because more than one artery

      supplies blood to the peripheral tissue. Accordingly, a provider must evaluate the severity of

      the PAD and its impact on a patient's symptoms and functionality through non-invasive

      testing before resorting to invasive procedures.


        A,       Treatment      for PAD

75.   Commonly used non-invasive testing for PAD includes physical examination for, among

      other things. a diminished pulse; a whooshing sound (or "bruit") heard over arteries using a

      stethoscope; and poor wound healing in areas where blood flow may be restricted. Another

      technique compares systolic blood pressure in the ankle to systolic blood pressure in the arm,

      and evaluates the resulting ratio. referred to as the "ankle-brachial index" ("ABl").

76.   Other, more sophisticated non-invasive testing for PAD involves techniques like segmental

      blood pressure recordings; pulse volume recordings C'PVRs"); blood flow measurements

      with    ultrasound      (or    "Doppler"):   magnetic    resonance   angiography   ("MRA");      and

      computerized tomography angiography ("CT A").              MRA and CTA involve the injection of

      contrast material (or "dye") into the blood vessels to enable the cardiovascular specialist to

      view vascular anatomy without using an invasive catheter-based approach.

77.   Non-invasive     treatment       for PAD often includes medications       such as aspmn.      statins

      (cholesterol-lowering         drugs), and cilostazol (the genenc name of a drug used to treat

      claudication);   dietary modifications;       exercise   programs;   and risk factor modification.

      especially smoking cessation.

78.   If non-invasive tests corroborate the severity of the PAD-and           if disabling claudication or

      critical limb ischemia has developed-a        physician may perform invasive testing to determine

      if"revascularization"     is necessary. Revascularization refers to the use of invasive techniques,


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       either catheter-based or surgical, to restore adequate blood flow to the affected limb and

       relieve symptoms.

79.    Catheter-based      angiography.   or an "angiogram;'   is an invasive imaging procedure that

       involves the insertion of a long. narrow tube called a "catheter" into a blood vessel in the am1

       or leg. The catheter is guided through the blood vessel to the artery of interest with the aid of

       an x-ray imaging technique called fluoroscopy. Dye is injected through the catheter into the

       vessel to make its internal dimensions visible.

80.    If significant   stenosis    is confirmed   by the angIOgram, the physician       may perform

       percutaneous transluminal "balloon" angioplasty ("PTA") inside the artery to re-open it and

       allow blood to flow more freely.        This procedure is performed by administering a blood

       thinner. then passing a balloon catheter over a guide-wire into a significantly narrowed

       portion of the artery and inflating it to reduce the severity of the blockage. The balloon

       catheter and guide-wire are then removed.

8 I.   Another possible invasive, catheter-based treatment is atherectomy, which involves the use of

       a sharp blade, burr, or laser housed \vithin the catheter to excise or destroy plaques from

       within an artery.

82.    If an angioplasty or atherectomy is not successful (i.e. the artery remams significantly

       blocked, or shows signs that it will quickly become blocked again), or if the artery is tom or

       otherwise damaged by the procedure (known as "dissection"), the physician may deploy a

       "stent."   Stents are smaIl metallic mesh tubes that are placed inside a blocked or narrowed

       artery to keep the vessel open after it has been dilated or tom. Stents are used depending on

       certain features of the clogged vessel, including the extent and location of the blockage.




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83.   Angiography. angioplasty. atherectomy, and stent implantation are invasive procedures that

      usually require conscious sedation and subject patients to some risk of harm.

84.   Any invasive procedure can lead to "restenosis" or re-narrowing due to scar build-up at the

      site of intervention. The catheter can also tear or rupture blood vessels causing internal

      bleeding and dislodge plaques from the arterial wall that can travel downstream                   or

      "embolize" into the circulation and lead to stroke, heart attack, or poor blood flow to a limb.

85.   The dye injected into the arteries during a catheterization          procedure can cause allergic

      reactions or kidney failure, and the radiation used for imaging can lead to injuries ranging

      from dermatitis to cancer.

86.   Stents can trap or 'jail" other arteries depending on their placement, sometimes permanently

      blocking other arteries and cutting off important alternative avenues of collateral circulation.

      Stents can also limit surgical options for revascularization. Excessive stenting can limit the

      number of viable. un-stented arteries into which a bypass can be connected.


        B,      The Medicare Benefit for PAD

87.   Medicare providers may only bill or receive payment for a peripheral artery angiography,

      angioplasty,   atherectomy,   or stent implantation     that is "reasonable"          and "medically

      necessary." 42 U.S.c.   S 1395y(a)(I)(A);   see also 42 U.S.c.   S   I320c-5(a)(l).

88.   Clinical indications supporting the medical necessity of peripheral artery interventions are

      published in multiple public sources, including national guidelines issued by industry groups

      like the American College of Cardiology Foundation and the American Heart Association,

      and Local Coverage Determinations issued by MACs.

89. According to the American College of Cardiology Foundation and the American Heart

      Association, a peripheral artery must usually be at least 50 to 75 percent blocked before it can


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      be diagnosed as "clinically significant" peripheral vascular disease justifying an intervention.

      See Jeffrey L. Anderson, et aI., "Management of Patients with Peripheral Artery Disease

      (Compilation of 2005 and 2011 ACCF/AHA Guideline Recommendations);'                Journal o/lhe

      American College o/Cardiology, Vol. 61, No. 14 (Apr. 2013).

90.   In most cases, "[ e]ndovascular intervention is not indicated as prophylactic therapy in an

      asymptomatic     patient with lower extremity PAD."           Id.   Thus, prior to performing an

      interventional procedure in the peripheral arteries, Medicare providers must assess the

      medical necessity of the intervention through a detailed evaluation, and thoroughly document

      the clinical indications necessitating the intervention, especially if the patient is otherwise

      asymptomatic.      It is entirely possible for a patient to have one or more arteries that are

      completely blocked, yet still not need intervention because other vessels provide adequate

      blood to the surrounding tissue. Indeed, it is not uncommon for the body to actually develop

      new circulation pathways around a blockage. particularly if the blockage has been present for

      a long time.

91.   Only after a Medicare provider has exhausted non-invasive tests and treatments-and           after

      symptoms       prove to be recurrent-should          the provider consider performing     invasive

      procedures on patients with severe PAD.             "Because of the variability of individual .

      symptoms and variable impact of these symptoms on quality of life, patients should be

      selected for revascularization on the basis of the severity of their symptoms; a significant

      disability as assessed by the patient; failure of medical therapies; lack of significant comorbid

      conditions; vascular anatomy suitable for the planned revascularization;          and a favorable

      risk/benefit ratio."   Alan T. Hirsch,   el   al., "ACC/AHA 2005 Practice Guidelines for the

      Management of Patients with Peripheral Arterial Disease;' Cireliialion (2006).



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92.   Since at least August 13.2012. Novitas, the MAC for Maryland and the District of Columbia.

      has maintained a Local Coverage Determination defining the requirements for coverage of

      stents in lower extremity arteries, which also contains guidance for PAD interventions in

      general.   See Novitas LCD L32641. Non-Coronal)'       Vascular Slenls (effective August 13.

      2012); LCD L35084. Non-Coronary Vascular Slents (effective November 1,2015).           Each of

      these LCDs state that the placement of a stent in a lower extremity artery "is covered only

      when all of the following conditions are met:"

        •    Angioplasty alone would not suffice.

        •    The patient has undergone prior thorough medical evaluation and management            of

             symptoms for which PTA and stent are therapeutic.

        •    Surgical intervention would otherwise be considered as an alternative treatment for the

             patient.

        •    Condition(s) exists for which there is evidence of equal outcomes with renal artery

             intervention and medical therapy when compared \\~th outcome of medical or surgical

             management.

93.   Novitas LCD L32641 and L35084 also mandate that a Medicare provider must document the

      medical necessity of any stent by explaining why the initial angioplasty was ineffective or

      insufficient. Such reasons might include "30 percent or greater residual stenosis" or "recoil."

      The documentation     provided to support the medical necessity of a stent must also

      demonstrate "an effort to establish a cause and effect relationship between the lesion to be

      treated and the presenting symptoms and/or other objective findings."        Pursuant to these

      requirements, LCD L32641 and L35084 state the following limitations of coverage:




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           The placement of a stent in a vessel for which there is no objective related
           symptom or limitation of function is considered to be preventive and. therefore.
           not covered by Medicare.

           Use of non coronary vascular stents is covered only after the patient has had a
           thorough evaluation and treatment of symptoms and when PTA of the vessel
           alone has not. or is not expected to, sufficiently resolve the symptoms making
           surgery the likely alternative.

94.   When a particular procedure is not covered by a LCD or other coverage determination, such

      as a National Coverage Determination made by CMS itself, then the provider must document

      medical necessity by stating why the particular procedure, inter alia, "meets, but does not

      ex~ed. the patient's medical needs."     CMS Medicare Program Integrity Manual, Chapter

      3.6.2.2 "Reasonable and Necessary Criteria."

95.   Thus, prior to performing any interventional procedure in the peripheral arteries, Medicare

      providers must assess the medical necessity of the intervention through a detailed evaluation,

      and thoroughly document the clinical indications necessitating the intervention:

             each patient's condition and response to treatment must medically warrant the
             number of services reported for payment. Medicare requires the medical
             necessity for each service reported to be clearly demonstrated in the patient's
             medical record. Medicare expects that patients will not routinely require the
             maximum allowable number of services.

      Novitas LCD L3264l and L35084. Likewise, when performing multiple interventions in the

      same area. a Medicare provider must specifically document the reason why the initial

      procedure was insufficient, as "services performed at an excessive frequency are not

      medically necessary." Id.

96.   To justify diagnostic procedures such as ultrasounds and angiograms.          Defendants were

      therefore required to document. at a minimum. objective information about the severity of a

      patient's symptoms.   Absent symptoms, such tests are necessarily prophylactic and therefore

      not covered by Medicare.


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97.    Likewise. before perfonning       invasive procedures   likc angioplasties   and atherectomies.

       Defendants must objectively describe the severity of a patient's symptoms. the degree of any

       blockage. the possibility of other treatment. and the presence/absence of alternate flows that

       would mitigate the need for intervention. This documentation is essential, as the simple fact

       that an artery is blocked. even totally blocked. is not a sufficient indication for intervention.

       Absent symptoms, an invasive procedure is necessarily prophylactic and therefore not

       covered by Medicare.     Even where symptoms are present, Defendants must still document

       why the intervention is necessary to relieve those symptoms, and explain why a non-invasive

       treatment would be ineffective.


                                    FACTUAL ALLEGATIONS

VII.     DEFENDANTS SUBMITTED FALSE CLAIMS FOR EXCESSIVE, MEDICALLY
         UNNECESSARY,     AND/OR     INADEQUATELY        DOCUMENTED
         CAIWIOVASCULAR  PROCEDURES

98.    Throughout the relevant period, Defendants engaged in a pattern and practice of seeing as

       many patients, scheduling as many appointments, ordering as many tests, performing as many

       cardiovascular interventions, implanting as many stents. and ultimately, collecting as many

       Medicare. Medicaid. and TRICARE payments as possible. As the majority of Defendants'

       patients had Medicare, Medicaid, or TRICARE as their primary health insurance, most of the

       unnecessary procedures that Defendants performed were paid for by the Government.

99.    Defendants carried out this fraud by knowingly and willfully failing to properly document the

       medical necessity of the procedures they were performing, while falsely certifying to Novitas

       and CMS that they were maintaining records sufficient to permit an audit. The purpose of

       these woefully inadequate records was to conceal the fact that the majority of the vascular

       interventions performed by Defendants were either medically unnecessary. or exceeded


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    medical necessity.      Defendants' conduct resulted in the submission of thousands of false

    claims to the Government, resulting in tens of millions of dollars in single damages to the

    public fisc.

100. Relator personally witnessed Defendants perfonn hundreds of angioplasties, atherectomies,

    and stentings on patients with only light to moderate stenosis, much less the 50-75% blockage

    necessary to justify an invasive intervention.           Even when significant blockage was present,

    Relator witnessed Defendants perfonn invasive interventions when patients had no symptoms

    which, absent extraordinary circumstances, were per se medically unnecessary as intervention

    is considered preventative in an asymptomatic patient and therefore not covered by Medicare.

    Medicaid. or TRICARE.            Relator also witnessed Defendants conceal these unnecessary

    procedures by exaggerating the severity of the patients' symptoms in their charts, thereby

    creating false records.


       A.       Failure to Document Medical Necessil)'

10 I. Novitas LCDs and CMS have set forth requirements for the documentation that a Medicare

    provider must create to justify the medical necessity of a procedure. As explained in national

    guidelines and Novitas LCD L3264 I and L35084, because vascular interventions may be

    perfonned      sequentially   (e.g. angioplasty,        followed by atherectomy,   followed by stent

    placement), it is of central importance for the provider to document why a less-invasive or

    non-invasive procedure was insufticient.           In other words, the provider must document why

    the procedures perfonned met. but did not exceed, the patient's medical needs.               For the

    placement of stents. the provider must expressly document "an effort to establish a cause-and-

    effect relationship between the lesion to be treated and the presenting symptoms and/or other




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    objective findings" and provide documentation that. absent the stent, surgery is the likely

    alternative. Novitas LCD L3264 I and L35084.

102. Defendants utterly failed to create the required documentation.         In nearly every case.

    Defendants failed to provide any objective information about the severity of a patient's

    symptoms,    the degree    of any blockage,      the possibility   of other treatment,   or the

    presence/absence of alternate flows that would mitigate the need for intervention. Defendants

    also made no effort to document non-invasive alternatives. such as treatment with medication,

    dietary changes, or exercise.

103. Patient chans also almost never contain direct evidence of the existence or severity of

    symptoms, such as signed medical histories or other forms filled out by a patient that directly

    describe his or her complaints.   Instead, where documentation of medical necessity exists at

    all, Defendants state simply that the patient is "experiencing lifestyle-limiting claudication"

    and/or "rest pain" in one or both legs, with no further discussion of the symptoms.

    Defendants use these subjective terms to conceal the fact that these procedures are not

    medically necessary.    Likewise, Defendants routinely avoid using objective language when

    describing the severity of symptoms, using ambiguous terms like "severe" or "critical" when

    describing the amount of occlusion. rather than an objective measure, e.g. "90% occluded."

104. This is not to say that some patients did not have serious symptoms.         However. Relator

    observed that, in most cases. if a patient actually had objectively lifestyle-limiting symptoms.

    such as the inability to walk short distances, non-healing wounds, severe pain, and/or

    gangrene, Defendants would note these symptoms in the patient's chan. On the other hand.

    when patients had no symptoms. or when their symptoms were mild and/or ambiguous, then

    their chans would be correspondingly vague in order to conceal the lack of medical necessity.



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105. When perfomling invasive procedures, Defendants also routinely failed to document the

    medical necessity of performing multiple procedures,         such as placing a stent and/or

    performing an atherectomy following an angioplasty.     Without a thorough discussion of why

    a patient required these additional procedures, it is impossible to know whether they were

    medically necessary.

106. Defendants also regularly relied on recordkeeping shortcuts, such as "copying and pasting"

     from other charts or templates. These records were almost always entered by nursing and/or

    support staff, rather than by physicians.

107. These shortcuts led to errors and omissions ranging from using incorrect gender pronouns to

    describing an entirely different procedure than the one billed to eMS (noting angiograms not

    performed or stating that the procedure was performed on a different limb or artery than the

    one billed), likely resulting from "copying and pasting" information from one chart to

    another.   The charts also contain obvious dictation errors (such as stating "recall" where

    "recoil" is obviously meant), which could lead to confusion and potentially incorrect billing.

I08. Likewise, Defendants' support staff regularly entered critical information that should have

    been gathered during an encounter, such as medical histories and symptoms, long after the

     encounter had taken place, making it impossible to verify that the information is in any way

     accurate, or that Defendants considered symptoms and other information when deciding

     whether to perform a procedure.       This practice was made evident by form letters that

     Defendants sent out to patients after a procedure. These letters were automatically generated

     by Defendants' records system, populating various fields v.~th whatever was written in the

     relevant section of the patient's chart.   In many cases, even though a patient's chart now

     contains medical histories, physical exams, reviews of symptoms, etc., the letters sent to the



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     patient did not contain this information, indicating that the inforn1ation was entered into the

     patienfs chart after the letter was sent. In many cases, a patient's chart will indicate that an

     encounter was amended on a particular date, often months after the encounter took place,

     which strongly suggests that this is when the missing information was added.

109. Stents in particular lack proper documentation.    Novitas' LCDs require Defendants to provide

     a detailed explanation of the medical necessity for placing a stent, including the degree of

     residual stenosis, recoil, or dissection.   Defendants must also document that the patient's

     symptoms are sufficiently severe that, absent a stent. "surgical intervention would otherwise

     be considered as an alternative treatment for the patient." Novitas LCD L32641 and L35084.

     When Defendants provide any documentation of the medical necessity of a stent at all, that

     documentation almost always consists of less than five words. and never contains the detail

     required by Novitas' LCDs.

110. Proper documentation      of medical necessity      IS   required by Medicare,   Medicaid,   and

     TRICARE       as a condition   of payment.        Defendants'   routine failure to create such

     documentation, as well as their routine attempts to conceal the lack of medical necessity

     through the use of vague and subjective language, is a violation of the FCA.           All such

     improperly documented claims are therefore false claims.


       B.       Excessive and Medically Unnecessary Procedures

II I. Defendants used every possible excuse to perform as many invasive procedures as possible.

     Defendants put significant pressure on their staff to schedule as many interventions each day

     as possible, leading staff to refer to the office as an "assembly line that has to keep moving at

     full capacity."




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112. Defendant's general scheme was to identify some symptom to justify an angiogram. examine

    all of the patient's lower peripheral arteries (even if the patient only had symptoms in one

    area) to identitY a blockage, and then perform the maximum amount of intervention possible.

113. In order to create records that would support an angiogram and give them an excuse to hunt

    for blockages, Defendants routinely overestimated the findings of non-invasive tests like

    Dopplers, and described even the most mild symptoms as "Iifestyle-limiting."            Once the

    patient was on the operating table for an angiogram, Defendants then either overestimated the

     severity of a blockage, e.g. describing occlusions that blocked less than 50% of an artery as

    "critical," or ignored alternate flows that would make intervention in even a completely

    blocked artery unnecessary.

114. For this reason, virtually every patient that received an angiogram, especially those seen by

    Dr. Choudry, also received some combination of angioplasty, atherectomy, and stenting on

    the alleged blockage. often all three. These procedures would usually be performed at the

    same time as the angiogram. \vithout additional discussion or consent from the patient.

liS. Defendants justified their failure to obtain additional consent by having patients sIgn

     informed consent forms that listed every single procedure that Defendants performed.

    regardless of whether the patients were actually informed that they would receive a particular

    procedure.   In most cases, there is no indication in a patient's chart that either a physician or

     nurse had explained the procedure. risks, or alternatives with the patient.       Less often. a

    patient's chart will have no signed consent at all.

116. Defendants also routinely did unnecessary diagnostic tests in order to identify additional

    blockages for treatment.   It was extremely common for a patient who complained of pain in

    only one limb to receive an angiogram of both limbs, plus an "aortogram" (angiogram of the



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    aorta and/or the surrounding cardiac arteries). If these unnecessary tests identified additional

    blockages, Defendants would either perform an intervention on the blockage immediately, or

    schedule the patient for another procedure, even if there was no plausible connection between

    the alleged blockage and any symptom.

I 17. Contrary to Novitas' LCDs, Defendants almost never considered, much less ordered, non-

    invasive treatments such as medication or changes in diet and exercise. Likewise, Defendants

    almost always failed to rule out alternative, non-vascular causes of patients' symptoms before

    performing invasive interventions.       To the extent that Defendants peformed non-InvaSIve

    testing at all, it was done only to justify invasive procedures.

118. Defendants    also strove to perform additional       interventions   by engagIng In "fishing"

    expeditions to find arteries to treat.    Defendants scheduled patients who had received an

    invasive procedure for "follow-up" tests at regular intervals, generally every three months, six

    months, and 12 months.           Defendants also cold-called former patients, some of whom

    Defendants had not seen for years, and invited them to return for a "checkup."          Defendants

    scheduled these "follow-up" and "checkup" appointments regardless of whether the patient

    had any symptoms.     In fact, most such patients were entirely asymptomatic, making the visit

    unnecessary.     Nevertheless.    despite the lack of any symptoms,        Defendants   performed

    invasive angiographies and other expensive procedures like ultrasounds. If these unnecessary

    tests identified additional blockages, the patients would either receive an intervention

    immediately, or be scheduled to return shortly to receive an intervention, regardless of

    whether the patient had any symptoms that warranted intervention.




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119. Defendants'     gross overutilization   of Medicare servIces for this vulnerable     population

     significantly deviated from what other cardiovascular specialists-and    Medicare--eonsider

     reasonable and appropriate.

120. Each of the claims that Defendants presented for these excessive and unnecessary procedures

     was false.


       C.         Specific Examples   of       Medically   Unnecessary    and/or      Inadequately
                  Documented Procedures

121. The false claims set forth in this section of the Complaint are representative examples, dravm

     from a statistically-valid random sample of Defendants' Medicare, Medicaid, and TRICARE

     patients, of the false claims that Defendants submitted to the Government throughout the

     relevant period. Specifically, Relator has examined the complete medical and billing records

     of the 38 Medicare/Medicaid patients who visited Defendants' facility between June I. 2015,

     and June 15, 2015, which have been produced to the Government.           This date range was

     selected for two reasons: (I) because the encounters are old enough to capture records that

     would demonstrate      both prior and subsequent procedures; and (2) because Defendants

     transitioned to a new record management and billing system in April/May 20 IS, making it

     much harder for Relator to obtain records from that time or before.         The records were

     obtained in late February and early March 2016, making them current through that date.

122. For each procedure, a patient's chart should contain a nurse's note, which is supposed to be

     recorded contemporaneously during the procedure, and a procedure note, which is supposed

     to be recorded by the physician promptly after the procedure is complete.     In his capacity as

     both nurse and manager, Relator personally observed that Dr. Choudry phrased his procedure

     notes with "buzzwords" like "lifestyle-limiting claudication" to ensure that the Government



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      would pay for the procedure. However. the contemporaneously-recorded                         nurse's notes often

      contradicted the procedure note and contained more accurate information.                              In fact. Dr.

      Choudry's procedure notes almost universally fail to discuss the degree of occlusion, severity

      of symptoms, or any other infomlation that would adequately support the hundreds of

      invasive interventions that he performs each year.

123. While a final determination of the medical necessity for some of the procedures in this data

      set will likely require review by a medical expert, the following four patients were selected as

      examples because the issues and errors were so glaring as to be obvious even to the

      layperson.     The unnecessary procedures perfonned on these four patients amount to more

      than $100,000 of false claims submitted to Medicare, Medicaid, and TRICARE.


                                            Patient "B5" (No. 30/532)1

124. Patient BS is a particularly egregious example of Defendants' inadequate documentation and

      perfomlance of unnecessary procedures.               Patient BS visited Defendants' facility for the first

      time on April 10. 20 I5. On that day, Patient BS underwent several invasive procedures,

      including a bilateral (both legs) angiogram. aortogram (angiogram of the aorta). angioplasty

      of the right superficial femoral artery and stenting of same. For the false claims presented for

      these services. Medicare paid Defendants $7.687.70.2

125. Patient BS' chart contains no signed informed consent for these procedures.

126. Dr. Choudry's procedure note for April 10, 20 I5 states that Patient BS had "extensive history

      of peripheral artery disease ...         has undergone endovascular procedure in the past ...                  [and]


I Due to changes in record-keeping software, many patients have multiple identification numbers.
, This number (and the other amounts listed in the examples below) was obtained by adding up all of the payments
made by Medicare for services performed on this date. However, the billing records appear to indicate that Defendants
actually invoiced Medicare for the full face value of these services, a total of$17,313.10.       As false claims liability
flows from the claim, not the amount paid, it is therefore possible that Defendants' liability is significantly higher than
the amount Medicare actually paid.

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    has been experiencing lifestyle-limiting claudication and rest pain on the right side."      Dr.

    Choudry further stated that "Considering the patient's symptoms, the patient underwent a

    Doppler study, which was reported as abnormal.         The patient came today for peripheral

    angiography and possible intervention:'

127. This statement is deficient for multiple reasons.     First and foremost, it does not contain

    enough information to demonstrate that any sort of intervention is medically necessary, nor is

    such information recorded elsewhere in Patient BS' chart. It does not describe the severity of

    claudication with any specificity (e.g. no objective measure of the pain or specific ways in

    which Patient BS' lifestyle is limited) and discusses no alternate causes of the pain or non-

     invasive alternative treatments.     Patient BS' chart also contains no record of any prior

     interventions.   Moreover, while the note states that a Doppler study was perfonned, Patient

     BS' chart does not contain any record of a Doppler study, nor did Defendants ever bill for

    one. Even if the Doppler was perfonned off-site or by another physician, Defendants must

    still document the results in order to rely upon them for medical necessity.        The lack of

     documented, non-invasive testing makes the subsequent invasive procedures lack medical

     necessity.

128. Even if Dr. Choudry's description of Patient BS' symptoms is accepted at face value. it at

     most supports an angiogram of Patient BS' right leg. as the documented symptoms only

     concern that limb. The angiograms of Patient BS' left leg and aorta are therefore medically

     unnecessary on their face.

129. In support of the angioplasty and stenting of Patient BS' right superficial femoral artery, Dr.

     Choudry stated that. during the angiogram, he "noticed there was a critical disease of the right

     superficial femoral artery."       He further stated that "this was a short segment, which



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    undenvent PTA with a 5-0 balloon followed by short 6-0 x 20 stent with excellent results."

    This description does not demonstrate medical necessity of the angioplasty because it does

    not provide any estimate of the degree of blockage (minimum of 50-75% occluded typical for

    intervention). does not document the presence or absence of alternate flows around the

    alleged blockage (which would mitigate the need for intervention), and fails to provide any

    exploration of non-invasive alternatives.     This description also blatantly violates Novitas

    LCD L32641 and L35084. because Dr. Choudry provided no explanation for why the

    angioplasty alone was not sufficient to open the allegedly blocked artery.

130. The nurse's note for Patient BS' April 10, 2015 visit further demonstrates the lack of

    adequate documentation. as the note contains no explanation for Patient BS' visit. nor any

    documentation   of a patient interview or other discussion v,~th the patient about his/her

    symptoms. In fact. the nurse's note was clearly created from a template and then never filled

    in, as it describes Patient BS only as "a _    year-old [gender redacted] v,ith extensive history

    of' and lists no symptoms, much less symptoms sufficient for an intervention. The note also

    describes the wrong procedure, stating that the catheter was inserted on the patient's right side

    and then advanced to the left. while the procedure note says the opposite. and does not

    mention the angioplasty or stenting. Finally, and perhaps most concerning. the nurse's note

    states that the angiogram showed that all arteries in both legs were "normal."

131. Patient BS' chart is a perfect example of Defendants' practice of "copying and pasting"

    information from templates or other charts, as it contains significant errors and numerous

    blanks that Defendants' staff apparently neglected to fill in. creating a contradictory record

    that is both dangerous for the patient (as inaccurate information could affect future medical

    decisions) and impossible to use to verify the accuracy of the bills presented to Medicare.



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132. Between the inadequate documentation in the procedure note. the entirely missing and/or

    contradictory   information   in the nurse's    note. and the lack of any other supporting

    infomlation in Patient BS' records. there is no way to determine the existence or severity of

    Patient BS' symptoms or whether the procedures performed on April 10. 2015. were

    medically necessary.    This lack of documentation supporting the medical necessity is a

    flagrant violation of Novitas'    LCDs and Medicare's     regulations, and deviates from the

    accepted practices for PAD treatment.    By knowingly presenting a claim to the Government

    without creating such documentation. Defendants presented a false claim in violation of the

    FCA.


                                     Patient "GW" (No. 1632)

133. Patient GW has had numerous invasive procedures done by Defendants, dating back to at

    least October 2014. On May 27, 2015, despite the fact that the only documented symptom in

    Patient GW's chart was "rest pain most predominantly only the right lower extremity." Dr.

    Choudry performed a full, bilateral angiogram and aortogram.     Lacking any chest or left leg

    symptoms, the angiogram was indicated for, at most, Patient GW's right leg. The angiogram

    of Patient GW's left leg and aorta were medically unnecessary.     Nevertheless, Dr. Choudry

    allegedly observed occlusions in both superficial femoral arteries, and so scheduled Patient

    GW for interventions.

134. Patient GW returned to Defendants' facility on June 4.2015, and underwent an angioplasty,

    atherectomy, and stenting of the right superficial femoral artery.       Patient GW's chart,

    however, contains no documentation supporting the medical necessity of this procedure.

    There is no discussion of the severity of Patient GW's pain, and indeed the nurse's note states

    that Patient GW's "pain scale" prior to the intervention was zero.         In fact, while Dr.


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    Choudry's procedure note states that Patient GW had "lifestyle limiting claudication and rest

    pain," the nurse's note (obtained by actually speaking with the patient) stated that Patient GW

    had only "right leg calf pain with activity" with no mention of rest pain or any other

    indication supporting the medical necessity of the intervention.     Even if the angioplasty was

    indicated. Dr. Choudry provided no basis for performing the atherectomy, nor did he provide

    any documentation for the stent beyond vaguely noting "some re-collapse noticed," without

    providing any specifics.   Dr. Choudry also provided no discussion of alternate causes. no

    discussion    of non-invasive   treatments,     and in all other ways failed to provide      the

    documentation required by CMS and Novitas, deviating from the accepted practices for PAD

    treatment.    For the false claims presented for these services. Medicare paid Defendants

    $13,903.60.

135. On June 17,2015. Patient GW underwent an angioplasty, atherectomy, and stenting of the lefi

    superficial femoral artery, despite the fact that Patient GW had neither complained of. nor

    displayed, any symptoms in that limb.         Indeed, Dr. Choudry's procedure note contains no

    discussion of any symptoms at all in Patient GW's left leg. and the nurse's note mentions

    only "left leg mild swelling." This documentation provides no support for medical necessity

    whatsoever and completely fails to comply with the requirements set forth by CMS and

    Novitas and deviates from the accepted practices for PAD treatment.         For the false claims

     Defendants presented for these wholly unnecessary services, Medicare paid $13,903.60.

136. Patient GW returned to Defendants'           facility on November   9, 2015, likely as part of

     Defendants' "fishing" program.     Dr. Choudry allegedly examined Patient GW on this day

    and, according to Dr. Choudry's procedure note, he supposedly observed that Patient GW had

    "lifestyle-limiting claudication" and "some rest pain on the right side."      The nurse's note



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    contradicts this statement. noting that Patient GW only had "pain on rt leg with walking

    around the house" with no mention of rest pam.               Patient GW's "pain scale'" before the

    procedure again was zero.

137. Despite these ambiguous symptoms. Dr. Choudry again performed a bilateral angiogram and

    aortogram. then performed an angioplasty. atherectomy.              and stenting of Patient GW's

    "critically diseased"   left   superficial femoral artery.   The chart contains no hint that Patient

    GW experienced any left leg symptoms at all, nor does it explain why an intervention in this

    artery was necessary just five months after Dr. Choudry had perfornled the exact same

    procedure in the exact same place.            This documentation provides no basis for medical

    necessity whatsoever and completely fails to comply with the requirements set forth by CMS

    and Novitas and deviates from the accepted practices for PAD treatment. For the false claims

    Defendants presented for these wholly unnecessary services, Medicare paid $13.973.10.

138. Patient GW returned for yet another intervention on November 20, 2015. this time receiving

    an angioplasty. atherectomy. and stenting of Patient GW's right superficial femoral artery.

    The nurse's note from this procedure indicates that Patient GW was experiencing "bilateral

    claudication. rt leg hurts more. Pain relieved with rest.'" The nurse's note again contradicts

    Dr. Choudry's procedure note. which states that Patient GW "was experiencing rest pain on

    the right side:'   Dr. Choudry again failed to explain why this intervention was necessary just

    six months after he had performed the exact same procedure.            This documentation provides

    no basis for medical necessity whatsoever             and completely     fails to comply with the

    requirements set forth by CMS and Novitas and deviates from the accepted practices for PAD

    treatment. For this wholly unnecessary procedure. Defendants billed Medicare $14,185.90.




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139. The procedures    that Dr. Choudry perfonned      on Patient GW perfectly illustrate how

    Defendants use vague and subjective language to conceal a lack of medical necessity.         An

    invasive intervention in an asymptomatic patient is presumptively preventative and therefore

    not covered by Medicare. Novitas LCD L32641 and L35084. In order to establish medical

    necessity for such an intervention.     Defendants would have to document extraordinary

    circumstances.    but Dr. Choudry documents none.      Using subjective terms like "critically

    diseased" and "lifestyle-limiting claudication" is not adequate, as they provide no objective

    way to verify medical necessity. particularly when contradicted by a more specific nurse's

    note. Absent symptoms, the presence of even a completely blocked artery does not justify

    intervention. making every intervention that Dr. Choudry performed on Patient GW. except

    perhaps the first. lack medical necessity on its face. By knowingly presenting claims that

    lacked medical necessity to the Government, Defendants presented false claims in violation

    of the FCA.


                                   Patient "LH" (No. 2182)

140. Patient LH visited Defendants' facility on June 3. 2015. On this date, Dr. Choudry stated in

    his procedure note that Patient LH had "non-healing foot ulcers, predominantly on the toes

    and also a history of rest pain:"   The nurse"s note, however, states that Patient LH had a

    single non-healing ulcer on the 3rd or 4th toe ofthe right foot, and notes no rest pain or other

    symptoms.

141. Despite having no medical basis for intervening anywhere except Patient LH"s right leg, Dr.

    Choudry performed a bilateral angiogram and aortograrn.         This test supposedly revealed

    "critical disease of the distal left superficial femoral artery." Even though Patient LH's left

    leg had no symptoms, and Patient LH had come in that day because of non-healing wounds


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    on the right foot. Dr. Choudry then performed an angioplasty, atherectomy, and stenting of

     Patient LH's   lefl   superficial femoral artery.   Absent symptoms, there was no medical

     necessity whatsoever for Dr. Choudry to perform an angiogram of Patient LH's left leg or

     aorta, nor was there any medical necessity for the subsequent interventions, which blatantly

     violated the requirements set forth by CMS and Novitas and deviates from the accepted

     practices for PAD treatment.      For the false claims Defendants presented for these wholly

     unnecessary services, Medicare paid $13,903.60 and TRICARE paid $3,546.84.

142. Patient LH returned to Defendants' facility on June 11. 2015 for an intervention on the right

     distal superficial femoral artery. Given Patient LH's non-healing wounds, it is possible that

     this intervention was medically necessary.     However, Dr. Choudry performed the maximum

     possible intervention, an angioplasty, followed by an ""atherectomy", followed by a stent. Dr.

     Choudry did not provide any explanation of the medical necessity of the atherectomy, and he

     noted that the stent was necessary due to "dissection" (tearing of the artery wall) without

     providing any further explanation of the severity or need for an intervention.    Indeed. it is

     entirely possible that the dissection was caused by the unnecessary atherectomy.     Whether

     this procedure was medically necessary will require evaluation by a medical expert. For the

     potentially false claims Defendants presented for these services, Medicare paid $13,903.60

     and TRICARE paid $3.546.84.

143. As part of Defendants' fishing program, Patient LH was called back to Defendants' facility

     and received an ultrasoundIDoppler of both legs on September 23, 2015.       While Medicare

     paid Defendants $213.96 for this procedure, no record of its results appears in Patient LH's

     chart.




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144. Patient LH visited Defendants' facility again on September 29. 2015. In his procedure note.

     Dr. Choudry confirmed that Patient LH had returned as part of Defendants' fishing program,

     stating that Patient LH "was reevaluated for recurrence of symptoms and underwent Doppler

     studies."   Dr. Choudry then stated that the September 23, 2015 Doppler "revealed a severe

     disease bilaterally on the superficial femoral arteries.'

145. Based on this alleged finding. Dr. Choudry performed a new bilateral angiogram and

    aortogram.        This procedure supposedly showed "evidence of disease" in Patient LH's left

     superficial femoral artery. and Dr. Choudry then performed an angioplasty, atherectomy and

     stenting in that artery. The complete lack of any discussion of symptoms is telling. as the

     nurse's note goes out of its way to state that "PER PT DOES NOT HAVE ANY

     SYMPTOMS" (caps in original. emphasis added). Absent symptoms. there was no medical

     necessity whatsoever for Dr. Choudry to perform an angiogram. much less any invasive

     interventions.     Dr. Choudry's conduct blatantly violates the requirements set forth by CMS

     and Novitas and deviates from the accepted practices for PAD treatment. For the false claims

     Defendants presented for these wholly unnecessary services. Medicare paid $13,973.13 and

     TR1CARE paid $3.564.58.

146. Patient LH came back to Defendants' facility for yet another procedure on October 13, 2015.

     Dr. Choudry stated in his procedure note that the September 29, 2015. angiogram of Patient

     LH's right superficial femoral artery had allegedly revealed "in-stent restenosis," despite

     noting no such thing anywhere in the documentation          for the September 29 procedure.

     Nevertheless, Dr. Choudry went ahead with another angioplasty, atherectomy, and stenting of

     that artery.     As with the prior procedure, the nurse's note again contradicts the medical

     necessity of this procedure, stating that Patient LH had "NO PA1N/WOUNDSIULCERS          ON



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    FEET:'     (caps in original).   As with the prior procedure, Dr. Choudry's intervention in an

    asymptomatic patient violates the requirements set forth by CMS and Novitas and deviates

     from the accepted practices for PAD treatment. For the false claims Defendants presented for

     these wholly unnecessary services, Medicare paid $13,973.13 and TRICARE paid $3,564.58.

147. As above, an invasive intervention in an asymptomatic patient is presumptively preventative

    and therefore not covered by Medicare. Novitas LCD L32641 and L35084.                 In order to

    establish medical necessity for such an intervention, Defendants would have to document

    extraordinary circumstances - especially since Patient LH expressly denied having any

     symptoms.    Absent symptoms, the presence of even a completely blocked artery does not

    justify intervention, as alternate flows frequently develop around the blockage to supply

    blood to the surrounding tissue. Likewise, repeated interventions on the same artery requires

    a thorough explanation of why the procedure is necessary. As such, each of the interventions

    described above, except perhaps the one on June 11, 2015, lacks medical necessity on its face.

     By knov•.ingly presenting       claims that lacked medical necessity       to the Government,

     Defendants presented false claims in violation of the FCA.


                                      Patient "AD" (No, 2521)

148. Like Patient LH. Patient AD is a longtime patient of Dr. Choudry who has had numerous

    procedures in both legs stretching back to at least early 2014.

149. Patient AD visited Defendants' facility for Doppler tests on June 11 and September 10,2015,

     likely as part of Defendants' fishing program.      The September 10 test supposedly showed

    "severe stenosis of the left superficial femoral artery," so Defendants scheduled Patient AD

     for an intervention.   Neither the June II, nor September 10, test results are present in Patient

    AD's chart.


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ISO. Patient AD came to Defendant's       facility for an intervention on September 23. 2015.

    According to the nurse's note on that day. the only symptom that Patient AD reported was the

    "occasional cramp in both legs not very often"'    Nevertheless, despite performing no other

    tests. Dr. Choudry decided that this was claudication necessitating an invasive intervention.

    Dr. Choudry perfomled a bilateral angiogram and aortogram, and then proceeded to do an

    angioplasty, atherectomy, and stenting in Patient AD's left superficial femoral artery.    Dr.

    Choudry had perfomled the same procedure on the same artery barely a year previously, on

    August 29, 2014.     For the false claims Defendants presented for these wholly unnecessary

    services, Medicare paid $13,973.13.

lSI. Patient AD returned on October 1. 2015. Again, the nurse's note reports that Patient AD had

    "no symptoms or wounds on foot." Dr. Choudry's procedure note also lists no symptoms,

    stating only that Patient AD "carne in today for treatment of critically diseased right

    superficial   femoral artery" that was supposedly discovered       during the angiogram     on

     September 23, 2015.      Despite the fact that Patient AD was entirely asymptomatic,      Dr.

     Choudry again performed a full angioplasty, atherectomy, and stenting in Patient AD's right

     superficial femoral artery.   Dr. Choudry had performed the same procedure on the same

     artery barely a year previously, on August 14, 2014.      Defendants' billing record for this

     unnecessary procedure    is particularly convoluted,   but it appears that they triple-billed

     Medicare, causing Medicare to pay Defendants twice at $10,342.54, and once at $13,973.13.

152. As above, an invasive intervention in an asymptomatic patient is presumptively preventative

     and therefore not covered by Medicare. Novitas LCD L32641 and L35084.             In order to

     establish medical necessity for such an intervention, Defendants would have to document

     extraordinary circumstances - especially since Patient AD expressly denied having any



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       symptoms.    Absent symptoms. the presence of even a completely blocked artery does not

       justify intervention. making every intervention described above lack medical necessity on its

       face. By knowingly presenting a claims that lacked medical necessity to the Govemment,

       Defendants presented false claims in violation of the FCA.


VII.     DEFENDANTS KNOWINGLY AND WILLFULLY PAID KICKBACKS AND
         VIOLATED THE STARK LAW IN THE FORM OF WAIVED MEDICARE
         COPA YMENTS, FREE TRANSPORT AnON, AND FREE ANKLE BRACHIAL
         INDEX TESTS

153. Defendants     routinely and indiscriminately      waived Medicare copayments,      assunng   that

       patients had no financial incentive to question the necessity of the excessive cardiovascular

       procedures to which Defendants subjected them.

154. Defendants failed to satisfy the conditions established by Medicare laws, regulations. and

       prq.'fam instructions to support those copayment waivers.

155. Defendants, especially Dr. Choudry, regularly told patients that they would not have to pay

       for Defendants' services. and that insurance payments, including Medicare payments, would

       be treated as payment in full.

156. Many Medicare        patients had vanous     forms of cO-lI1surance. including Medicaid       and

       TRICARE, that would have paid most of the 20% of the allowed costs that Medicare did not

       cover.   Defendants regularly waived the co pays required by this co-insurance, even when

       those copays were extremely modest, on the order of thirty-five dollars or less. In fact, to the

       best of Relator's knowledge, the only time Defendants ever accepted money from patients

       was when the patient affirmatively insisted on paying them.




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157. Similarly, Defendants' efforts to collect co payments. if undertaken at alL were token efforts.

     Defendants never contacted collection agencies to obtain overdue payments from patients.

     Instead. Defendants simply waited several months and then wrote-off any delinquent debts.

158. For example, Patient BS, supra, did not have co-insurance (co-insurance payer is stated as

     "patient") and so owed $1,961.14 for the portion of the April 10,2015 procedure not paid by

     Medicare.   Rather than collecting this amount, Defendants instead wrote it off as "bad debt"

     on November 11,2015.

159. Patient GW, supra, had Aetna co-insurance, which required a modest copayment of $35 for

     surgical procedures like the ones on May 27, June 4, June 17, November 9, and           ovember

     20.2015.    Defendants did not collect these copayments, nor did they collect the even smaller

     copayments that Patient GW owed for office visits and tests.        Instead, Defendants simply

     voided the debt.

160. Patient LH, supra, had TRICARE for co-insurance and was never charged a copayment at all.

161. Patient AD, supra, had Maryland Medicaid for co-insurance and, as of March 2016, owes

     approximately $4,076.97 in unpaid deductibles and copayments.         Defendants have made no

     efforts to collect this outstanding debt, almost all of which is more than six months old.

162. In addition to failing to collect required copayments, Defendants also pay kickbacks in the

     form of free transportation to their patients.   While he does not have direct access to the

     relevant records, Relator is aware that Defendants spend thousands of dollars each month

     providing free transportation to and from patients' homes, ensuring that patients have no

     financial incentive whatsoever to object to Defendants' unnecessary procedures.

163. Defendants also pay kickbacks to referring physicians, which is a violation of the Stark Law.

     Defendants employ technicians who use portable equipment to perform ankle brachial



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     indexes ("'ABl") at the offices of other physicians. An ABI is a simple test that measures the

    difference in blood pressure between a patient's anklc and thigh.                    If the difference is

     significant, it could indicate a blockage.           Defendants'     technicians will visit a particular

     physician's office on a regular schedule, one or twice a month. and the physician will have

     these technicians perform an ABI on any patients that the physician believes may have

     peripheral artery disease. Defendants' technicians then provide the test results to Defendants.

     along with the patients' contact information. which was collected during the test. Defendants

    evaluate the test results and independently contact any patients with a significant test result

     for further screening. Defendants interpret the results of these tests extremely broadly, such

     that nearly every patient who receives an ABI in this way is called in by Defendants for

     additional tests.

164. These ABls are kickbacks because the physicians who provide the patients bill Medicare.

     Medicaid. and TRlCARE for the procedure, as it was done in the physicians' offices, even

     though the service is actually being provided by Defendants without cost to the physician.

165. Several physicians have also formed "fair market value" agreements with Defendants, which

     require the physicians to pay Defendants a monthly fee for using Defendants' ABI equipment

     and Defendants' employees, which established a "financial relationship" for purposes of the

     Stark Law. These payments, when they are made at all, are not related to the number of

     procedures that the physicians bill to the Government.             In most cases, this results in windfall

     profits for the physicians, which they obtain in exchange for the contact information of

     potential patients, i.e. referrals, to Defendants.

166. Defendants' ABI business also violates the Stark Law because it is effectively a self-referral.

     Patients are not told that the ABI performed in their own physician's office is actually



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        provided by Defendants, nor are patients told that the results of the ABI will be reported to

        Defendants.     As such, Defendants are able to create the illusion of an independent referral,

        when in fact Defendants controlled every step of the process.

167. Violations of the Anti.Kickback          Statute and Stark Law are per se violations of the FCA,

        making every claim that Defendants presented to the Government for patients who were self.

        referred or the product of kickbacks a false claim.


VIII.     DAMAGES TO THE UNITED STATES, MARYLAND, AND THE DISTRICT OF
          COLUMBIA

168. Defendants present more than $500,000 worth of claims to the Government each month,

        more than 95% of which is for the invasive surgical procedures described herein.

169. Based on his personal experience and expertise. Relator conservatively estimates that at least

        half of the invasive procedures performed by Defendants lack medical necessity entirely and

        should never have been performed because the patients in question did not have symptoms

        that justified intervention.

170. The majority of the other procedures performed by Defendants either exceeded medical

        necessity (e.g. by placing a stent when an angioplasty alone would have sufficed) or lacked

        adequate documentation to demonstrate medical necessity.          All told, 75% or more of the

        invasive procedures      Defendants    performed,   including   virtually all of the procedures

        performed by Dr. Choudry, did not comply with the requirements for payment of Medicare.

        Medicaid, and TRICARE.         All claims presented to the Government for such procedures were

        false claims.

171. Defendants have engaged in the fraudulent practices described herein since at least 20 IO. All

        told, Relator estimates that Defendants presented more than $25 million worth of false claims



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     during the relevant period, which the Government was not obligated to pay. Under the FCA.

     Defendants are therefore liable for not less than $75 million in treble damages.

172. Defendants are also liable for civil penalties of $5.500 to $11,000 for each false claim.

     Defendants present more than 100 claims to the Government each month, creating additional

     liability of not less than $39.6 million over the past six years.

173. Defendants total FCA liability therefore exceeds $ 100 million.




                                              COUNT I
                        [31 U.S.c. ~ 3729(a)(1)(A)-Presenting      False Claims]

I74. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

175. As described In this Complaint         Defendants knowingly presented, and/or caused to be

     presented, thousands of false and/or fraudulent claims for payment or approval to Medicare,

     Medicaid, and other health insurance programs funded or administered               by the United

     States. These claims include, but are not limited to:

              a. Every claim for an unnecessary procedure;

              b. Every claim for a procedure that exceeded medical necessity;

              c. Every claim that Defendants did not support with adequate documentation           of

                 medical necessity;

              d. Every claim for which Defendants failed to charge and/or collect a co-pay required

                 by Medicare, Medicaid, or other health insurance program funded or administered

                 by the United States;

              e. Every claim that was the result of a self-referral through the use of an ankle-

                 brachial index test; and


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               f.   Every claim that otherwise contained a material misrepresentation.

    176. By knO\\'ingly, willfully or recklessly presenting false claims for payment to the United

         States, Defendants have defrauded the United States in contravention of the False Claims Act.

         31 U.S.c. s3729(a)(I)(A), to the damage of the Treasury of the United States of America. by

         causing the United States to payout money that it was not obligated to pay. In carrying out

         these wrongful acts. Defendants have engaged in a protracted course and pattern of fraudulent

         conduct that was material to the United States' decision to pay these false claims.

    177. By knowingly.      willfully   or recklessly    causing   others   to present   false claims   for

        payment/reimbursement      to the United States, Defendants have defrauded the United States in

        contravention of the False Claims Act. 31 U.S.c. s3729(a)(1 )(A), to the damage of the

        Treasury of the United States of America, by causing the United States to payout money it

         was not obligated to pay. In carrying out these wrongful acts, Defendants have engaged in a

         protracted course and pattern of fraudulent conduct that was material to the United States'

         decision to pay these false claims.

    178. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

         of fraudulent conduct, the United States has paid directly or indirectly thousands of false

         claims that it would not otherwise have paid.

    179. Defendants are therefore jointly and severally liable to the United States for damages that

         include, but are not limited to, three times the full value of all such fraudulent claims.

    180. Defendants are also jointly and severally liable to the United States for a civil fine under the

         False Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11 ,000)

         for each false claim.




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                                          COUNT II
       [3 I U.S.C. ~ 3729(a)(l)(B) - Making Material False Statements and Certifications]

181. The allegations contained in the above paragraphs are hereby realleged as set forth fully

    above.

182. As described    In this Complaint,    Defendants   knowingly    made    false statements   and

    certifications, and/or caused others to make false statements and certifications, that were

    materia! to thousands of false and/or fraudulent claims for payment or approval to Medicare,

    Medicaid, and other health insurance programs funded or administered by the United States.

    These knowing false statements and certifications include, but are not limited to:

          a. Certification on Defendants' application to participate in Medicare and Medicaid

              that it would    comply     with all applicable   laws, regulations,   and program

              instructions, the Stark Law and the Anti-Kickback Statute:

          b. Express statements on CMS Form 1500 as to the cost of their services in which

              they overstated the cost of these services by the amount of the inappropriately

              waived beneficiary copayments, therefore presenting inflated claims for payment of

              such services to Medicare, Medicaid, and other insurance programs funded or

              administered by the United States;

          c. Express certification on each CMS Form 1500 Health Insurance Claim Form,

              and/or other documentation presented as part of each claim for payment. that the

              claims presented were "true, accurate and complete;"

          d. Express certification on each CMS Form 1500 Health Insurance Claim Form,

              and/or other documentation presented as part of each claim for payment, that the

              claims presented were "medically indicated and necessary for the health of the

              patient;~'


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           e. Express certification on each CMS Form 1500 Health Insurance Claim Form,

                and/or other documentation presented as part of each claim for payment that the

                Defendants had "provided or will provide additional information required to allow

                the government to make an informed eligibility and payment decision;"

           f.   Implied certification on each CMS Form 1500 Health Insurance Claim Form,

                and/or other documentation presented as part of each claim for payment, that the

                Defendants possessed documentation to support the medical necessity of the claims

                presented; and

           g. Each record, such as medical charts, that Defendants created in order to justify each

                claim for procedures they knew to be unnecessary and/or not medically indicated.

183. Defendants knew, within the meaning of31 U.S.C.     S 3729(b)(l),   that the implicit and explicit

    certifications it made were material to the United States' decision to pay each claim presented

    by Defendants.

184. By making material false statements and certifications, Defendants knowingly failed to

     comply with requirements upon which payment of these claims by the United States was

     contingent.

185. By knowingly, willfully or recklessly making false statements and certifications material to

     the United States' decision to pay on false claims presented to Medicare, Medicaid, and other

     insurance programs funded or administered by the United States, Defendants have defrauded

    the United States in contravention of the False Claims Act, 31 U.S.c. s3729(a)(l)(B),        to the

    damage of the Treasury of the United States of America, by causing the United States to pay

     out money that it was not obligated to pay. In carrying out these wrongful acts, Defendants




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     have engaged in a protracted course and pattern of fraudulent conduct that was material to the

     United States' decision to pay these false claims.

186. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct. the United States has paid directly or indirectly thousands of false

     claims that it would not otherwise have paid.

187. Defendants are therefore jointly and severally liable to the United States for damages that

     include. but are not limited to. three times the full value of all such fraudulent claims.

188. Defendants are also jointly and severally liable to the United States for a civil fine under the

     False Claims Act of five thousand five hundred to eleven thousand dollars ($5.500 - $11.000)

     for each false claim.


                                             COUNT III
                             [31 U.S.c.   S 3729(a)(I)(C)   - Conspiracy]

189. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

190. Defendants conspired to commit the fraudulent acts set forth in Counts I and 11by knowingly

     agreeing amongst themselves to commit those acts and then engaging in conduct. such as

     performing unnecessary procedures or creating false medical records. which furthered this

     conspIracy.

191. By conspiring to present false claims to the United States, and to make false statements and

     create false records. Defendants have defrauded the United States in contravention of the

     False Claims Act. 31 U.S.c. s3729(a)(I)(B).        to the damage of the Treasury of the United

     States of America, by causing the United States to payout money that it was not obligated to

     pay. In carrying out these wrongful acts, Defendants have engaged in a protracted course and



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     pattern of fraudulent conduct that was material to the United States' decision to pay these

     false claims.

192. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct, the United States has paid directly or indirectly thousands of false

     claims that it would not otherwise have paid.

193. Defendants are therefore jointly and severally liable to the United States for damages that

     include, but are not limited to, three times the full value of all such fraudulent claims.

194. Defendants are also jointly and severally liable to the United States for a civil fine under the

     False Claims Act of five thousand five hundred to eleven thousand dollars ($5,500 - $11,000)

     for each false claim.


                                        (OlINT IV
              [Md. Code Ann. Health-Gen. S 2-602(a)(1) - Presenting False Claims]

195. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

196. As described in this Complaint, Defendants knowingly presented, and/or caused to be

     presented, thousands of false and/or fraudulent claims for payment or approval to Maryland

     Medicaid programs. These claims include, but are not limited to:

           a. Every claim for an unnecessary procedure;

           b. Every claim for a procedure that exceeded medical necessity;

           c. Every claim that Defendants did not support with adequate documentation              of

               medical necessity;

           d. Every claim for which Defendants failed to charge and/or collect a co-pay required

               by Maryland Medicaid programs;



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           e. Every claim that was the result of a self-referral through the use of an ankle-

                brachial index test; and

           f.   Every claim that otherwise contained a material misrepresentation.

197. By knowingly, \villfully or recklessly presenting false claims for payment to the State of

     Maryland, Defendants have defrauded Maryland in contravention of the Maryland False

     Health Care Claim Act of201O. Md. Code Ann. Health-Gen.           S 2-602(a)(I).   to the damage of

     the Treasury of Maryland. by causing Maryland to payout money that it was not obligated to

     pay. In carrying out these wrongful acts, Defendants have engaged in a protracted course and

     pattern of fraudulent conduct that was material to Maryland's decision to pay these false

     claims.

198. By knowingly. willfully or recklessly causing others to present false claims for payment to

     the State of Maryland, Defendants have defrauded Maryland in contravention                   of the

     Maryland False Health Care Claim Act of 201 0, Md. Code Ann. Health-Gen.             S 2-602(a)(l).
     to the damage of the Treasury of Maryland, by causing Maryland to payout              money that it

     was not obligated to pay. In carrying out these wrongful acts. Defendants have engaged in a

     protracted course and pattern of fraudulent conduct that was material to Maryland's decision

     to pay these false claims.

199. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct, the State of Maryland has paid directly or indirectly thousands of false

     claims that it would not otherwise have paid.

200. Defendants are therefore jointly and severally liable to the State of Maryland for damages that

     include, but are not limited to, three times the full value of all such fraudulent claims.




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20 I. Defendants are also jointly and severally liable to the State of Maryland for a civil fine under

     the Maryland False Health Care Claim Act of 2010 of not more than ten thousand dollars

     ($10,000) for each false claim.


                                        COUNT V
       [Md. Code Ann. Health-Gen. S 2-602(a)(2) - Making Material False Statements and
                                       Certifications]

202. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

203. As described       In this Complaint.      Defendants   knowingly    made    false statements   and

     certifications, and/or caused others to make false statements and certifications, that were

     material to thousands of false and/or fraudulent claims for payment or approval to Maryland

     Medicaid programs.          These knowing false statements and certifications include, but are not

     limited to:

              a. Certification    on Defendants'    application to participate   In Maryland Medicare

                 programs that it would comply with all applicable laws, regulations, and program

                 instructions, the Stark Law and the Anti-Kickback Statute;

              b. Express statements on CMS Form 1500 as to the cost of their services in which

                 they overstated the cost of these services by the amount of the inappropriately

                 waived beneficiary copayments, therefore presenting intlated claims to Medicaid

                  programs for payment of such services;

              c. Express certification on each CMS Form 1500 Health Insurance Claim Form,

                 and/or other documentation presented as part of each claim for payment, that the

                 claims presented were "true, accurate and complete;"




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           d. Express certification on each CMS Form 1500 Health Insurance Claim Form.

                and/or other documentation presented as part of each claim for payment. that the

                claims presented were "'medically indicated and necessary for the health of the

                patient;"

           e. Express certification on each CMS Form 1500 Health Insurance Claim Form.

                and/or other documentation presented as part of each claim for payment. that the

                Defendants had "provided or will provide additional information required to allow

                the government to make an informed eligibility and payment decision;"

           f.   Implied certification on each CMS Form 1500 Health Insurance Claim Form.

                and/or other documentation presented as part of each claim for payment. that the

                Defendants possessed documentation to support the medical necessity of the claims

                presented; and

           g. Each record, such as medical charts, that Defendants created in order to justify each

                claim for procedures they knew to be unnecessary and/or not medically indicated.

204. Defendants knew, within the meaning of Md. Code Ann. Health-Gen.        S 2-601(1)(1).   that the

     implicit and explicit certifications it made were material to the State of Maryland's decision

     to pay each claim presented by Defendants.

205. By making material false statements and certifications, Defendants knowingly failed to

     comply with requirements upon which payment of these claims by the State of Maryland was

     contingent.

206. By knowingly, willfully or recklessly making false statements and certifications material to

     the State of Maryland's decision to pay on false claims presented to Maryland Medicaid

     programs, Defendants have defrauded Maryland in contravention of the Maryland False



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     Health Care Claim Act of 201 O. Md. Code Ann. Health-Gen.         S 2-602(a)(2).   to the damage of

     the Treasury of Maryland. by causing Maryland to payout money that it was not obligated to

     pay. In carrying out these wrongful acts, Defendants have engaged in a protracted course and

     pattern of fraudulent conduct that was material to Maryland's decision to pay these false

     claims.

207. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct, the State of Maryland has paid directly or indirectly thousands of false

     claims that it would not otherwise have paid.

208. Defendants are therefore jointly and severally liable to the State of Maryland for damages that

     include, but are not limited to, three times the full value of all such fraudulent claims.

209. Defendants are also jointly and severally liable to the State of Maryland for a civil fine under

     the Maryland False Health Care Claim Act of 20 I0 of not more than ten thousand dollars

     ($10.000) for each false claim.


                                             COUNT VI
                        [Md. Code Ann. Health.Gen. S 2-602(a)(3) - Conspiracy]

210. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

211. Defendants conspired to commit the fraudulent acts set forth in Counts IV and V by

     knowingly agreeing amongst themselves to commit those acts and then engaging in conduct,

     such as performing unnecessary procedures or creating false medical records, which furthered

     this conspiracy.

212. By conspiring to present false claims to the State of Maryland, and to make false statements

     and create false records, Defendants have defrauded Maryland in contravention                of the



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     Maryland False Health Care Claim Act of2010, Md. Code Ann. Health-Gen.               S 2-602(a)(3).
     to the damage of the Treasury of Maryland, by causing Maryland to payout money that it

     was not obligated to pay. In carrying out these wrongful acts. Defendants have engaged in a

     protracted course and pattern of fraudulent conduct that was material to Maryland's decision

     to pay these false claims.

213. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct, the State of Maryland has paid directly or indirectly thousands of false

     claims that it would not otherwise have paid.

214. Defendants are therefore jointly and severally liable to the State of Maryland for damages that

     include, but are not limited to, three times the full value of all such fraudulent claims.

215. Defendants are also jointly and severally liable to the State of Maryland for a civil fine under

     the Maryland False Health Care Claim Act of 2010 of not more than ten thousand dollars

     ($10,000) for each false claim.


                                             COUNT VII
                      [D.C. Code   S 2-381.02(a)(l)
                                                  - Presenting False Claims]

216. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

217. As described In this Complaint, Defendants kno'Wingly presented, and/or caused to be

     presented, thousands of false and/or fraudulent claims for payment or approval to District of

     Columbia Medicaid programs. These claims include, but are not limited to:

           a. Every claim for an unnecessary procedure;

           b. Every claim for a procedure that exceeded medical necessity;




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           c. Every claim that Defendants did not support with adequate documentation            of

                 medical necessity;

           d. Every claim for which Defendants failed to charge and/or collect a co-pay required

                 by District of Columbia Medicaid programs:

           e.    Every claim that was the result of a self-referral through the use of an ankle-

                 brachial index test; and

           f.    Every claim that otherwise contained a material misrepresentation.

218. By knowingly, willfully or recklessly presenting false claims for payment to the State of

     District of Columbia. Defendants have defrauded the District of Columbia in contravention of

    the District of Columbia False Claims Act, D.C. Code ~ 2-381.02(a)(I), to the damage of the

    Treasury of the District of Columbia. by causing the District of Columbia to payout money

    that it was not obligated to pay.       In carrying out these wrongful acts, Defendants have

     engaged in a protracted course and pattern of fraudulent conduct that was material to the

     District of Columbia's decision to pay these false claims.

219. By knowingly, willfully or recklessly causing others to present false claims for payment to

     the State of the District of Columbia. Defendants have defrauded The District of Columbia in

     contravention of the District of Columbia False Claims Act, D.C. Code ~ 2-381.02(a)(I). to

     the damage of the Treasury of the District of Columbia, by causing the District of Columbia

     to payout     money that it was not obligated to pay.     In carrying out these wrongful acts.

     Defendants have engaged in a protracted course and pattern of fraudulent conduct that was

     material to the District of Columbia's decision to pay these false claims.




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220. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct, the District of Columbia has paid directly or indirectly thousands of

     false claims that it would not otherwise have paid.

221. Defendants are therefore jointly and severally liable to the District of Columbia for damages

     that include, but are not limited to, three times the full value of all such fraudulent claims.

222. Defendants are also jointly and severally liable to the District of Columbia for a civil fine

     under the District of Columbia False Claims Act of five thousand five hundred to eleven

     thousand dollars ($5,500 - $11,000) for each false claim.


                                               COUNT VIII
       [D.C. Code    !i   2-381.02(a)(2) - Making Material False Statements and Certifications]

223. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.

224. As described         In this Complaint,    Defendants   knowingly   made    false statements      and

     certifications. and/or caused others to make false statements and certifications. that were

     material to thousands of false and/or fraudulent claims for payment or approval to District of

     Columbia Medicaid programs. These knowing false statements and certifications include, but

     are not limited to:

              a. Certification on Defendants'     application to participate In District of Columbia

                 Medicare programs that it would comply with all applicable laws, regulations. and

                 program instructions. the Stark Law and the Anti-Kickback Statute;

              b. Express statements on CMS Form 1500 as to the cost of their services in which

                 they overstated the cost of these services by the amount of the inappropriately




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               waived beneficiary copayments, therefore presenting inflated claims to Medicaid

               programs for payment of such services:

          c. Express certification on each CMS Form 1500 Health Insurance Claim Form.

               and/or other documentation presented as part of each claim for payment. that the

               claims presented were "true, accurate and complete;"

          d. Express certification on each CMS Fonn 1500 Health Insurance Claim Form.

               and/or other documentation presented as part of each claim for payment. that the

               claims presented were "medically indicated and necessary for the health of the

               patient;"

          e.   Express certification on each CMS Fornl 1500 Health Insurance Claim Fornl.

               and/or other documentation presented as part of each claim for payment, that the

               Defendants had "provided or v,~ll provide additional information required to allow

               the government to make an informed eligibility and payment decision;"

          f.   Implied certification on each CMS Form 1500 Health Insurance Claim Form,

               and/or other documentation presented as part of each claim for payment, that the

               Defendants possessed documentation to support the medical necessity of the claims

               presented; and

          g. Each record, such as medical charts, that Defendants created in order to justify each

               claim for procedures they knew to be unnecessary and/or not medically indicated.

225. Defendants knew, within the meaning of D.C. Code         S   2-381.01(7), that the implicit and

    explicit certifications it made were material to the District of Columbia's decision to pay each

    claim presented by Defendants.




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226. By making material false statements and certifications.         Defendants knowingly failed to

     comply with requirements upon which payment of these claims by the District of Columbia

     was contingent.

227. By knov.;ngly. willfully or recklessly making false statements and certifications material to

     the State of The District ofColumbia's    decision to pay on false claims presented to District of

     Columbia Medicaid programs. Defendants have defrauded the District of Columbia in

     contravention of the District of Columbia False Claims Act. D.C. Code          S   2-381.02(a)(2). to

     the damage of the Treasury of the District of Columbia. by causing the District of Columbia

     to payout   money that it was not obligated to pay.         In carrying out these v.Tongful acts.

     Defendants have engaged in a protracted course and pattern of fraudulent conduct that was

     material to the District ofColumbia's    decision to pay these false claims.

228. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattern

     of fraudulent conduct. the District of Columbia has paid directly or indirectly thousands of

     false claims that it would not otherwise have paid.

229. Defendants are therefore jointly and severally liable to the District of Columbia for damages

     that include. but are not limited to. three times the full value of all such fraudulent claims.

230. Defendants are also jointly and severally liable to the District of Columbia for a civil fine

     under the District of Columbia False Claims Act of five thousand five hundred to eleven

     thousand dollars ($5.500 - $11.000) for each false claim.


                                              COUNT IX
                             [D.C. Code   S 2-381.02(a)(3)   - Conspiracy]

231. The allegations contained in the above paragraphs are hereby realleged as set forth fully

     above.



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232. Defendants conspired to commit the fraudulent acts set forth in Counts VII and VIII by

     knowingly agreeing amongst themselves to commit those acts and then engaging in conduct.

     such as performing unnecessary procedures or creating false medical records, which furthered

     this conspiracy.

233. By conspiring to present false claims to the District of Columbia. and to make false

     statements and create false records, Defendants have defrauded the District of Columbia in

     contravention of the District of Columbia False Claims Act, D.C. Code ~ 2-38l.02(a)(3),           to

     the damage of the Treasury of the District of Columbia. by causing the District of Columbia

     to payout   money that it was not obligated to pay.         In carrying out these wrongful acts,

     Defendants have engaged in a protracted course and pattem of fraudulent conduct that was

     material to the District of Columbia's decision to pay these false claims.

234. As a direct and proximate result of Defendants' fraudulent and/or illegal actions and pattem

     of fraudulent conduct. the District of Columbia has paid directly or indirectly thousands of

     false claims that it would not otherwise have paid.

235. Defendants are therefore jointly and severally liable to the District of Columbia for damages

     that include, but are not limited to, three times the full value of all such fraudulent claims.

236. Defendants are also jointly and severally liable to the District of Columbia for a civil fine

     under the District of Columbia False Claims Act of five thousand five hundred to eleven

     thousand dollars ($5,500 - $11,000) for each false claim.


                                       PRAYER FOR RELIEF

WHEREFORE.        Plaintiff-Relator,   on behalf of the United States of America, the State of

Maryland, the District of Columbia, and himself, pray as follows:




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a.   That this Court enter a judgment against all Defendants in an amount equal to three times

     the amount of damages sustained by the United States as a result of the fraudulent

     conduct described in this Complaint, including but not limited to the full value of all false

     claims presented by Defendants to Medicare. Medicaid and any other insurance program

     administered or funded by the United States;

b.   That this Court enter a judgment against all Defendants in an amount equal to three times

     the amount of damages sustained the State of Maryland as a result of the fraudulent

     conduct described in this Complaint;

c.   That this Court enter a judgment against all Defendants in an amount equal to three limes

     the amount of damages sustained the District of Columbia as a result of the fraudulent

     conduct described in this Complaint:

d.   That because all Defendants are responsible       for submitting false claims. usmg false

     records or statements to get such claims paid, and using false statements to avoid and

     conceal their obligation to repay funds they wrongfully obtained, all Defendants are

     jointly and severally liable for the full amount of damages and civil or criminal penalties

     awarded in this case:

e.   That each and every Defendant be held jointly and severally liable for a civil penalty of

     between $5,500 and $11,000. as adjusted          by the Federal Civil Penalties     Inflation

     Adjustment Act of 1990, for each and every false claim described herein and presented

     to, or approved by, the United States or private insurance companies by any person;

f.   That the Plaintiff-Relator   be awarded an amount that the Court decides is reasonable.

     which shall be not less than 15% nor more than 30% of the proceeds awarded to the

     United States from a judgment       in this action, settlement of the claims, and/or any



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     alternative remedies under the False Claims Act, 31 U.S.c.      SS   3729(a)(l),   3730(c)(5),

     (d). including but not limited to proceeds from any related administrative.        criminal, or

     civil actions. and the monetary     value of any equitable    relief, fines. restitution,    or

     disgorgement to the United States and/or third parties;

g.   That Plaintiff-Relator be awarded an amount that the Court decides is reasonable, which

     shall be not less than 15% nor more than 25% of the proceeds awarded to the State of

     Maryland from a judgment in this action, settlement of the claims, and/or any alternative

     remedies, including but not limited to proceeds from any related administrative, criminal,

     or civil actions. and the monetary value of any equitable relief, fines, restitution. or

     disgorgement to third parties;

h.   That Plaintiff-Relator be awarded an amount that the Court decides is reasonable, which

     shall be not less than 15% nor more than 30% of the proceeds awarded to the District of

     Columbia from a judgment in this action, settlement of the claims, and/or any alternative

     remedies, including but not limited to proceeds from any related administrative, criminal,

     or civil actions, and the monetary value of any equitable relief, fines, restitution. or

     disgorgement to third parties;

I.   That Plaintiff-Relator.   the United States, the State Maryland,        and the District of

     Columbia be awarded all reasonable attorney fees and costs incurred, with interest,

     including expert witness fees;

J.   That Plaintiff-Relator,   the United   States, the State Maryland,      and the District of

     Columbia be awarded pre-judgment interest on all monies awarded; and

k.   That Plaintiff-Relator be granted all other relief as the Court may deem just and proper.




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                                 JURY TRIAL DEMANDED
Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a jury
trial.


                                       VERIFICA nON

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge and understanding.




                                                              Nov 7, J-Otio
       Steven Pringle                                        Date




       Respectfully submitted,




       H{~i"~"di"g)
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       Attorneys for Relator




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this 21st day of November, 2016, he caused the

foregoing Complaint and Motion to File Under Seal to be served via U.S. Certified Mail upon

the following:

ATTORNEY GENERAL OF THE UNITED STATES
U.S. Department of Justice
950 Pennsylvania Ave, N.W.
Washington, DC 20530

ATTORNEY GENERAL FOR THE STATE OF MARYLAND
200 St. Paul Place
Baltimore, MD 21022

ATTORNEY GENERAL FOR THE
DISTRICT OF COLUMBIA
441 4th Street NW, Suite 1060 N
Washington, DC 20001




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